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                                                          RELATED DDJ
                                                                                          FILED
                                                                                CLERK, U.S. DISTRICT COURT



                                                                                     5/16/24
 1 Victoria Tenisha Shanae Dillihunt(Full Name)
    ________________________                                                  CENTRAL DISTRICT OF CALIFORNIA


 2     dillihuntvictoria@yahoo.com (Email Address)
      ________________________                                                       eee
                                                                                BY: ___________________ DEPUTY



       12035 S Broadway # K                                     Homeless this is old address
 3    ________________________ (Address Line 1)

 4     Los Angeles CA, 90061
      ________________________(Address Line 2)

 5       No Phone
      ________________________(Phone Number)

 6    Plaintiff in Pro Per
 7
 8                                     UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                                                    2:24-CV-04076-FMO-MAR
        Victoria Tenisha Shanae Dillihunt                          Case No.: ______________________
11    __________________________,                                                      (To be supplied by the Clerk)
12                             Plaintiff,
13     vs.                                                          Civil Rights Complaint Pursuant to
         Knights
       Rose      Templar Commandery
              Motel
14        Sean
        National
           Clive
          Compton
        One        Paul
              IA Medical
                   Davis   Enterprises
                       Cowboys,
                  Potters   House Inc
      ______________________________   Inc
                                     Church                        42 U.S.C. § 1983 (non-prisoners)
         Temmler  Pharma   GmbH
15       Troy
        Edward  Donald
                Lynn
          Centennial
           Southgate,
           Saviii
       Potters  House CA
                    3rd    Jamerson
                       Brown Apartments
                          High School
                          Church   Of LA
      ______________________________
16     Ho
      Stephen
     Grand
      Rose
     St.     Chi
          Philip
        The        Mihn
                Glenn
            National
             Motel  Neri
              Diamonds       City
                        Martin
                     Mother   Lodge
                           Catholic
   ______________________________
         Israel   Houghton             Church
                                                                   Jury Trial Demanded: Yes
                                                                                        X     No
      Greek
   Great
         Cu
     Edward   Orthodox
               Chi
               Lynn
         National
       The        Lodge
             Broadway
   Congregation            of
                     District
                      Brown   Jerusalem
                               Apartments
                        ofLeague
                            Freemasons (Germany)
17 Annunciation
          Jekalyn     ofof
                     Carr    the
                           Mary
   ______________________________ Oratory,
                                    Church  etc.
18                         Defendant(s).
19
20                                          (All paragraphs and pages must be numbered.)

21                                                 I. JURISDICTION
22    1. This court has jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. § 1343.
23    Federal question jurisdiction arises pursuant to 42 U.S.C. § 1983.
24
25                                                       II. VENUE
26                                                               The situation took
      2. Venue is proper pursuant to 28 U.S.C. § 1391 because ____________________
             place in County of plaintiff's residence
27    __________________________________________________________________
28    __________________________________________________________________
                                                             1
                                                           ________
       Form prepared by Public                             Page Number
       Counsel. © 2010, 2023 Public
       Counsel. All rights reserved.
       Revised: October 2023
                                         Civil Rights Complaint Pursuant to U.S.C. § 1983
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                                    Overseer




                           In Hebrew; Oratory is H3907 which translates
    to Lachash meaning a whisper, a private prayer, an incantation, an
   amulet, charm, earring, enchantment, orator, and prayer
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                            Cane killed Abel and Abels blood cried
  from the grounds(Genesis 4:11). Now the witchcraft behind this is how
  they use all earth's elements as weapons to kill. Example: R I.P OJ Simpson




                            R.I.P. Kobe Bryant! I wish I would have known
     back then what I know Now. The Bible talks about the church over all
    the Kings being the cause of the deaths and Roman Catholics worship
   the dead
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     One IA Potters House Church
    Potters House Church Of LA
     St. Philip Neri Catholic Church
   Congregation of the Oratory, etc.
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                                      Overseer




                             In Hebrew; Oratory is H3907 which translates
      to Lachash meaning a whisper, a private prayer, an incantation, an
      amulet, charm, earring, enchantment, orator, and prayer
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                              Cane killed Abel and Abels blood cried
    from the grounds(Genesis 4:11). Now the witchcraft behind this is how
    they use all earth's elements as weapons to kill. Example: R I.P OJ Simpson




                              R.I.P. Kobe Bryant! I wish I would have known
       back then what I know Now. The Bible talks about the church over all
      the Kings being the cause of the deaths and Roman Catholics worship
     the dead
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       Step 1a. Understanding Cestui Que Vie Act 1666

       Existence of Life

       Cestui Que Vie

       London 1666, during the black plague and great fires of London, Parliament
       enacted an act behind closed doors, called Cestui Que Vie Act 1666.

       The act being debated was to subrogate the rights of men and women, meaning
       all men and women were declared dead, lost at sea/beyond the sea. (back then
       operating in Admiralty law, the law of the sea, so lost at sea).

       The state (London) took custody of everybody and their property into a trust. The
       state became the trustee/husband holding all titles to the people and property,
       until a living man comes back to reclaim those titles, he can also claim damages.

       When CAPITAL letters are used anywhere in a name this always refers to a legal
       entity/fiction, Company or Corporation no exceptions. e.g. John DOE or Doe:
       JANE

              1) CEST TUI QUE TRUST: (pronounced setakay) common term in New
                 Zealand and Australia
              2) STRAWMAN: common term in United States of America or Canada

       These are the legal entity/fiction created and owned by the Government whom
       created it. It is like owning a share in the Stock Market, you may own a share…
       but it is still a share of the Stock.

       Legally, we are considered to be a fiction, a concept or idea expressed as a
       name, a symbol. That legal person has no consciousness; it is a juristic person,
       ENS LEGIS, a name/word written on a piece of paper. This traces back to 1666,
       London is an IndependentCityState, just like Vatican is an IndependentCityState,
       just like WashingtonDC is an Independent City State.

       The Crown is an unincorporated association. Why unincorporated? It’s private.
       The temple bar is in London, every lawyer called to the “bar” swears allegiance to
       the temple bar. You can’t get called without swearing this allegiance.



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       Our only way out is to reclaim your dead entity (strawman) that the Crown
       created, become the executor and then collapse the called Cestui Que Vie trust
       and forgive yourself of your debts and then remove yourself from the admiralty
       law that holds you in custody.

       When London burned, the subrogation of men’s and women’s rights occurred.
       The responsible act passed… CQV act 1666 meant all men and women of UK
       were declared dead and lost beyond the seas. The state took everybody and
       everybody’s property into trust. The state takes control until a living man or
       woman comes back and claims their titles by proving they are alive and claims for
       damages can be made.

       This is why you always need representation when involved in legal matters,
       because you’re dead.

       The legal fiction is a construct on paper, an estate in trust. When you get a bill or
       summons from court it is always in capital letters, similar to tomb stones in grave
       yards. Capital letters signify death. They are writing to the dead legal fiction. A
       legal fiction was created when someone informed the government that there was
       a new vessel in town, based upon your birth.

       Birth Certificates are issued to us by the Doc. just as ships are given berth
       Certificates at the Dock. It’s about commerce. We come from our mothers waters.
       Your mother has a birth canal just like a ship. The ship moves by the sea current
       just as we are able to move by the currency.

       All this information relates to how the general public are still legally tied through
       Maritime Admiralty Law. Through this ancient legal construct we can be easily
       controlled and duped. Learning about your legal fiction helps you to unlock
       yourself. Otherwise you are just an empty vessel floating on the sea of
       commerce. Parents are tricked into registering the birth of their babies.

       In about 1837 the Births, Deaths and Marriages act was formed in UK and the
       post of registrar general was established. His job was to collect all the data from
       the churches which held the records of birth.

       Regis – from Queen or Crown. All people are seen to be in custody of,” The
       Crown”. This allows people to function in commerce and to accept the benefits
       provided by state. We have to understand who we are as men and women and
       how we can relate in the system. The City of London is a centre for markets,
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       where merchants work. Then there is Mercantile Law. It comes from Admiralty
       Law. Look at the symbols in your City Courts that relate to Admiralty.

       So where you have commerce and money, you also have “justice” and “injury”.
       You need to understand the bankruptcy before you can understand the judiciary.
       We have accepted the claim to accept the summons, yet ONLY the dead can be
       summoned. There is an obligation to accept any liability which has been created.

       We are operating in Admiralty. A not guilty plea, or ANY plea admits jurisdiction.
       The strawman, aka legal fiction is always guilty. Barristers and solicitors make a
       living out of creating controversy. By creating a controversy you become liable for
       the case.

       Honour and dishonour. To remain in honour you have to accept a claim and
       settle (discharge) it. Then you add conditions, ie. “I accept on proof of claim and
       proof of loss”. This gives the liability back to them. The legal fiction is always
       guilty. Only in the High Court, can the real man or woman appear. Games are
       played on courts, hence the name ‘court’. It is a game with actors (acting on
       acts). It has to be treated as a game and just business. Court room dramas are
       misinformation.

       In the public, we are operating in bankruptcy and you receive benefits. It takes a
       lot of time, effort and study to understand and use these tools. You have to be
       prepared to go fully through the process, get the right tool out of your toolbox at
       the right time.

       People need to learn how to act as a creation of God rather than a creation of
       Man.

       Evidence of Life Evidence of Person Entitled to payment Form 206



       Rights Suspension and Corruption
       Cestui Que Vie Trust

       Canon 2036 (link)
       A Cestui Que VieTrust, also known later as a “Fide Commissary Trust” and later
       again as a “Foreign Situs trust” and also known as a form of “Secret Trust”is a
       fictional concept being a Temporary Testamentary Trust, first created during the

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       reign of Henry VIII of England through the Cestui Que Vie Act of 1540 and
       updated by Charles II through the Cestui Que Vie Act of 1666 wherein
       an Estate may be effected for the Benefit of one or more Persons presumed lost
       or abandoned at “sea” and therefore assumed/presumed “dead” after seven (7)
       years. Additional presumptions by which such a Trust may be formed were added
       in later statutes to include bankrupts, minors, incompetents, mortgages and
       private companies.

       Canon 2037 (link)
       The original purpose and function of a Cestui Que (Vie) Trust was to form a
       temporary Estate for the benefit of another because some
       event, state of affairs or condition prevented them from claiming their status as
       living, competent and present before a competent authority. Therefore, any
       claims, history, statutes or arguments that deviate in terms of the origin and
       function of a Cestui Que (Vie) Trust as pronounced by these canons is false and
       automatically null and void. A Cestui Que (Vie) Trust may only exist for seventy
       (70) years being the traditional accepted “life” expectancy of the estate.

       Canon 2039 (link)
       As all Cestui Que (Vie) Trusts are created on one or more presumptions based
       on its original purpose and function, such a Trust cannot be created if none of
       these presumptions can be proven to exist.

       Canon 2042 (link)
       In 1534, prior to the 1st Cestui Que Vie Act (1540), Henry VIII declared the first
       Cestui Que Vie type estate with the Act of Supremecy which created
       the Crown Estate. In 1604, seventy (70) years later, James I of England modified
       the estate as the Crown Union (Union of Crowns). By the 18th Century,
       the Crown was viewed as a company. However by the start of the 19th Century
       around 1814 onwards upon the bankruptcy of the company (1814/15) , it became
       the fully private Crown Corporation controlled by European private banker
       families.

       Canon 2043 (link)
       Since 1581, there has been a second series of Cestui Que Vie Estates
       concerning the property of “persons” and rights which migrated to the United
       States for administration including:




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              (i)         In 1651 the Act for the Settlement of Ireland 1651-52 which introduced
                          the concept of “settlements”, enemies of the state and restrictions of
                          movement in states of “emeregency”; and
              (ii)        In 1861 the Emergency Powers Act 1861; and
              (iii)       In 1931 the Emergency Relief and Construction Act 1931-32; and
              (iv)        in 2001 the Patriot Act 2001.



       Canon 2044 (link)
       Since 1591, there has been a third series of Cestui Que Vie Estates concerning
       the property of “soul” and ecclesiastical rights which migrated to the United
       States for administration including:
       (i) In 1661 the Act of Settlement 1661-62; and
       (ii) In 1871 the District of Columbia Act 1871; and
       (iii) In 1941 the Lend Lease Act 1941.

       Canon 2045 (link)
       By 1815 and the bankruptcy of the Crown and Bank of England by the
       Rothschilds, for the 1st time, the Cestui Que Vie Trusts of the United Kingdom
       became assets placed in private banks effectively becoming “private trusts” or
       “Fide Commissary Trusts” administered by commissioners (guardians). From
       1835 and the Wills Act, these private trusts have been also considered “Secret
       Trusts” whose existence does not need to be divulged.

       Canon 2046 (link)
       From 1917/18 with the enactment of the Sedition Act and the Trading with the
       Enemy Act in the United States and through the United Kingdom, the citizens of
       the Commonwealth and the United States became effectively “enemies of
       the state” and “aliens” which in turn converted the “Fide Commissary” private
       secret trusts to “Foreign Situs” (Private International) Trusts.

       Canon 2047 (link)
       In 1931, the Roman Cult, also known as the Vatican created the Bank for
       International Settlements for the control of claimed property of associated private
       central banks around the world. Upon the deliberate bankruptcy of most
       countries, private central banks were installed as administrators and the global
       Cestui Que Vie/Foreign Situs Trustsystem was implemented from 1933 onwards.

       Canon 2048 (link)

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       Since 1933, when a child is borne in a State(Estate) under inferior Roman law,
       three (3) Cestui Que (Vie) Trusts are created upon certain presumptions,
       specifically designed to deny the child forever any rights of Real Property, any
       Rights as a Free Person and any Rights to be known as man and woman rather
       than a creature or animal, by claiming and possessing their Soul or Spirit.

       Canon 2050 (link)
       Since 1933, when a child is borne, the Executors or Administrators of the
       higher Estate knowingly and willinglyclaim the baby as chattel to the Estate. The
       slave baby contract is then created by honoring the ancient tradition of either
       having the ink impression of the feet of the baby onto the live birth record, or a
       drop of its blood as well as tricking the parents to signing the baby away through
       the deceitful legal meanings on the live birth record. This live birth record as a
       promissory note is converted into a slave bond sold to the private reserve bank of
       the estate and then conveyed into a 2nd and separate Cestui Que
       (Vie) Trust per child owned by the bank. Upon the promissory note reaching
       maturity and the bank being unable to “seize” the slave child, a maritime lien is
       lawfully issued to “salvage” the lost property and itself monetized as currency
       issued in series against the Cestui Que (Vie) Trust.

       Canon 2052 (link)
       The Three (3) Cestui Que Vie Trusts are the specific denial of rights of Real
       Property, Personal Property and Ecclesiastical Property for most men and
       women, corresponds exactly to the three forms of law available to the Galla of the
       Bar Association Courts. The first form of law is corporate commercial law is
       effective because of the 1st Cestui Que Vie Trust. The second form of law
       is maritime and trust law is effective because of the 2nd Cestui Que Vie Trust.
       The 3rd form of law is Talmudic and Roman Cult law is effective because of the
       3rd Cestui Que Vie Trustof Baptism.

       Canon 2053 (link)
       The Birth Certificate issued under Roman Law represents the modern equivalent
       to the Settlement Certificates of the 17th century and signifies the holder as a
       pauper and effectively a Roman Slave. The Birth Certificate has no direct
       relationship to the private secret trusts controlled by the private banking network,
       nor can it be used to force the administration of a state or nation to divulge the
       existence of these secret trusts.

       Canon 2054 (link)

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       As the Cestui Que Vie Trusts are created as private secret trusts on multiple
       presumptions including the ongoingbankruptcy of certain national estates, they
       remain the claimed private property of the Roman Cult banks and therefore
       cannot be directly claimed or used.

       Canon 2055 (link)
       While the private secret trusts of the private central banks cannot be directly
       addressed, they are still formed on certain presumptions of law including
       claimed ownership of the name, the body, the mind and soul of infants, men and
       women. Each and every man and woman has the absolute right to rebuke and
       reject such false presumptions as a holder of their own title.




       Canon 2056 (link)
       Given the private secret trusts of the private central banks are created on false
       presumptions, when a man or woman makes clear their Live
       Borne Record and claim over their own name, body, mind and soul, any
       such trustbased on such false presumptions ceases to have any property.

       Canon 2057 (link)
       Any Administrator or Executor that refuses to immediately dissolve a Cestui Que
       (Vie) Trust, upon a Personestablishing their status and competency, is guilty of
       fraud and fundamental breach of their fiduciary duties requiring their immediate
       removal and punishment.
       	  




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                                               THE DECLARATION OF INDEPENDENCE-1776 1                                                                       a
                                    IN CONGRESS, JULY 4, 1776                                We hold these truths to be self-evident, that     ~~ ~ J
                                                                                                       e cr
                                                                                          ali men,_ eate          equal that t ey are en-      , ,~ ~ ,~
                        The unanimous Declaration of the thirteen united Twed by their Creator with certain unalienable                          -~' ~
                                            States of America                            •'R,ights, that among the are Life, Liberty and       , ~„ !"'~
                         WxErr in the Course of human events, it be- the pursuit of Happines~That to secure these                              ; r~
                      comes necessary for one people to dissolve the rights, Governments are instituted among Men,                                ~~                  1
                      political bands which have connected them with deriving their just powers from the consent of
                      another, and to assume among the powers of the the governed,—That whenever any Form of Gov-
                      earth, the separate and equal station to which ernment becomes es ru iv_e o                              ese ends, it is ~ I
                      the Laws of Nature and of Nature's God entitle the Right of the People to alter or to a                          sh it        1
                      t m~ a decent respect to the opinions of man- and-to institute new Government la in its
                      ~h                                                                                                                           ,..._.
                      kind requires that they should declare the                            o    a ion on such principles and organizing its
                      causes which impel them to the separation.                           powers m such form, as tot '~m
                                                                                                                        e s~l~ seem mos ~r ~'1
                                                                                            i c y to e ect eir a e y an         ppines    ru-
                       ' The delegates of the United Colonies of New Hampshire; Mas-      iience, indeed, will dictate tat Governments
                      eachusette Bay; Rhode Island and Providence Plantations; Con-       long established should not be changed for light
                      necticut; New York; New Jersey; Pennsylvania; New Castle,           and transient causes; and accordingly all experi-
                      Kent, and  Sussex, in Delaware;  Maryland;   Virginia; North Caro-
                      lina, and South Carolina, In Congress assembled at Philadelphia,
                                                                                          ence hath shewn, that mankind are more dis-
                      Resolved on the 10th of May, 1776, to recommend to the respec-       posed to suffer, while evils are sufferable, than
                      tive assemblies and conventions of the United Colonies, where no     to right themselves by abol' ing the forms to
                      government sufficient to the exigencies of their affairs had been    which they are accustoms 5            hen a lon
                      established, to adopt such a government ae should, in the opin-
                      ion of the repreaentativea of the people, best conduce to the ham    train of abuses and usurpations, pursuing invari- ~~
                      pineae and safety of their constituents In particular, and of ~abi the same            'ect evinces a deli n to reduce
                      America in general. A preamble to this resolution, agreed to on      t em under a so ute De~Aot sm, it is their righ ,
                      the lbth of May, stated the Intention to be totally to suppress ~zt is their_ ntv to throw ~a             off          ~nvPr~mn na ~~~~
                      the exercise of every kind of authority under the British crown.
                      On the 7th of June, certain resolutions respecting independency      a.nA to mm~9Ao rc..~ Cna.rria for thAir fnfiira aami_               ~ Y~
                      were moved and seconded. On the 10th of June it was resolved,        rity.~5uch has been the patient sufferance of
                      that a committee ahauld be appointed to prepare a declaration'       ~Tiese Colonies; and such is now the necessity
                      to the following effect: "That the United Colonies are, and of
                      right ought to be, free and independent States; that they are eb-    which constrains them                   alter their former
                      solved from all allegiance to the British crown: and that all pa-    Systems of Government ~ he history of the~~
                      litical connection between them end the State of Great Britain       present Kind of Great Britain~S,~, h,at~,
                      is, and ought to be, totally dissolved." On the preceding day it       sated injuries and usurpations,`all having i
                      was determined that the committee far preparing the declara-
                      tion should consist of five, and they were chosen accordingly, in    rec_           __ _ ~—e~aT~1z's~iment of an abso u e f
                      the following order: Mr. Jefferson, Mr. J. Adams, Mr. Franklin,'     Tvrannv over these States. To prove -this, 41e~~`~~.
                      Mr. Sherman, Mr. R. R. Livingston. On the 11th of June a resolu-     Facts be submitted to a candid world.
                      tion was passed to appoint e committee to prepare and digest
                      the form of a confederation to be entered into between the colo-
                                                                                              He has refused his_Assent to Laws the mos~~
                      n1ea, and another committee to prepare a plan of treaties to be      wholesome and necessar for
                      proposed to foreign powers. On Lhe 12th of June, it was resolved,       He has or i en is Governors to amass Laws o
                      that a committee of Congress should be appointed by the name         imme is an pressing por           im       tance, unless sus-
                      of a board of war and ordnance, to consist of five members. On
                      the 25th of June, a declaration of the deputies of Pennsylvania,     pen e in the r operation till his Assent                  should
                                                                                                                                          --- -
                      met in provincial conference, expressing their willingness to             obtained; and wfien~so suspended he has ut-
                      concur in a vote declaring the United Colonies fY~ee and inde-       Yet`~.c* nnglPrto~ r.n at~na       t~them
                      pendent States, was laid before Congress and read. On the 28th          He has refused to pass other Laws for the ac-
                      of June, the committee appointed to prepare a declaration of
                      independence brought in a draught, which was read, and ordered       c6mmo aeon o                      s ric s of people, unless '
                      to lie on the table. Oa the 1st of July, a resolution of the conven-  hose—poe pTe wouTd"F~Tinquis~the right of Rep-
                      tion of Maryland, passed the 28th of June, authorizing the depu-     resen
                                                                                             --on  t        in tie L'egis  Ta~ure:    Briefix"'  in
                                                                                                                                                  ~ima-
                                                                                                                                                   es
                      tiea of that colony to concur in declaring the United Colonies
                      free and independent 9tatea, was laid before Congress and read.         e o           an ormi~e to tyrants off.
                      On the same day Congress resolved itself into a committee of the         ffeah s caTIe~~'ge~iffier egis a ive odies at
                      whale, to take into consideration the resolution respecting inde-    p aces unusua , uncom or a e, an                         is ante
                      pendency. On the 2d of July, a resolution declaring the colonies
                      free and independent States, was adopted. A declaration to that
                      effect woe, on the came and the following days, taken into f1u~-     ed on Lhe 4th of July, but, approving of it, they thus signified
                      ther consideration. Finally, on the 4th of July, the Declaration     their approbation.
                      of Independence was agreed to, engrossed on paper, signed by           NOTE.-Th¢ proof of this document, as published above, was
                      John Hancock as president, end directed to be sent to the sev-       read by Mr. Ferdinand Jefferson, the Keeper of the Rolla at the
                      eral assemblies, conventions, and committees, ar councils of         Department of State, at Washington, who compared it with the
                      safety, and to the several commanding officers of the continen-      fat-simile of the original in his cuetady. He says: "In the fac-
                      tal troapa, and to be proclaimed in each of the United States,       simile, as in the original, the whole instrument runs on without
                      and at the head of the Army. It was also ordered to be entered       a break, but dashes are mostly inserted. I have, in this copy, fol-
                      upon the Journals of Congress, end on the Zd of August, a cop9       lowed the arrangement of paragraphs adopted in the publication
                      engrossed on parchment was signed by all but one of the fYfty-       of the Declaration in the newspaper of John Dunlap, and as
                      sia signers whose names are appended to 3t. That one was Mat-        printed by him for the Congress, which printed copy is inserted
                      thew Thornton, of New Hampshire, who on taking his seat in No-       in the original Journal of the old Congress. The same paragraphs
                      vember asked and obtained the privilege of signing it. Several       are also made by the author, in the original draught preserved
                      who signed it on the 2d of August were absent when it was adopt-     in the Department of State."



                             Page Ar.v



                                                                    e 2~"
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                              o itor        'r ubl'c Records, for                            of     elt &perfidy scarce-
                the sole purpose of fatiguing them into comp i- ly paralleled in the most barbarous ag                  -
            ~           t2i"h1 measures.                                to    unwor y e ea of a civi ize na ion.
                ~fe has dissoTved'~e resentative Houses re-                 e has cons rained our fellow Citizens to en
            ~ peatedly for o osin~ with manly firmness s Captive on the high Seas to bear Arms against
              invasions on e rights of the ~eo~je.                      their Country, to become the executioners of
                 ~e ias ie~'use or a to      ti       ft r u h dis- their friends and Brethren, or to fall themselves
               so u ions, o cause others to be elected• whereb          by their Hands.
           `~" the Le is a ve owers Inca a e of Ann' ila-                 He has excited domestic insurrections
                 ion, have returned to the People at lar e for amon¢st us. and as en eavoured to brine on e
               their exercise; e Late hem                        can inhabitants of our frontiers, the merciless In- ~~ ~.•
               t' e expose o all the dan er                                   Sava es whose     own r e ofwa"r~ar~saYf         /~
                withou , an convu a ons within.                            dis ' uished destruction of all ages,
                  He has en~eavoured to prevent the population end nndi inns ~~ ~~~A~ ~y £R f~~
               of these States; for that purpose obstructing the          In every stage of these Oppressions We have
               Laws for Naturalization of Foreigners; refusing Petitioned for Redress in the most humble
               to pass others to encourage their migrations terms: Our repeated Petitions have been an- ~~~
               hither, and raising the conditions of new Appro- swered only by repeated injury. A Prince, whos~
               priations of Lands.                                      character is thus marked by every act which CM~~
                  He has obstructed the Ad                   of Jus- may define a Tyrant, is unfit to be the ruler of
               tice y refusing is ~aPnt to T.~c+a fnp ecta - a free people.
        '" ~ fishing Ju iciary powers.                                    Nor have We been wanting in attentions to our
                ~„ Ie has mac~e~d~endent on his Will Brittish brethren. We have warned them from
         ~ '  alone            e enure of their   nffleaa~  A.nd t,~h„e time to time of attempts by their legislature to
                               ayment of their salar' s                 extend an unwarrantable jurisdiction over us.
                 maH _            a multitn~p a~3~Te~~v offices and We have reminded them of the circumstances of
        ~• sent hither swarms of Officers to harass our peo- our emigration and settlement here. We have
         /~`p1Aa.l]fI eat out theit_snb4ta_n_~P-                        appealed to their native justice and magnanim-
                  He has kept amon us, in times of eace, ity, and we have conjured them by the ties of
               Standing rmies withou            nnsent of our lei- our common kindred to disavow these usurpa-
               is atures.                                               Lions, which, would inevitably interrupt our
              kIe h-   asaffected to render the Military inde- connections and correspondence. Thev too have
               pendent of and superior to the Civil power.              been deaf to the voice of iuRti_~P a.nd of con-
                  He has combi                         ub'ect us to °~,ngunity. We must, t erefore. acquiesce in the
               a ,uris fiction foreign to our constitution. any necess        t which denounce ur Separation, an
    ~~         unacknowledged by our laws• ivi           his Assent      o them, as we hold the rest of mankin         n-
            ` o sir ac s o ore. en ed Legislation:                                 ar i                s.
                  For quartering large bo iesoff' armed troops            wE, THEREFORE, the Representatives of the
               among us:                                                UNITED STATER OF AMERICA, in General Congress,
                  For nrotectin~ them. by a mock Trial, from Assembled, appealing to the Supreme Judge of
                 unishment for an Murders which the s~ouTd the world for the rectitude of our intentions, do,
 ~~~=\~        commit on t e Inhabitants of these States:               in the Name, and by Authority of the good Peo-
                  For cutting off our Trade with all parts of the ple of these Colonies, solemnly publish and de-
               world:                                                   Clare, That these United Colonies are, and of
                  FOt imposing Taxes On uS without OUT COri-             1 ht Ought t0 be FREE AND INDEPENDENT
               sent:                                                    STATEB;'~ia~-they are      so v2Tfro~I-A77e-                         ,
                  For depriving us in many cases, of the benefits glance o the British Crown, and that all politi-              !`~,
               of Trial by Jury:                                        cal connection
                                                                                    e    b    en t~iem and__the __.a e o C~;t~~-~ `"""~~
                  For transporting us beyond Seas to be tried F ~a              ri am, is and oug t to be totally dis-             vZ;~,{S{--
              for pretended offenses:                                   ~'liat
                                                                        aolv             as Free and Independent States,
                  For abolishing the free System of English thev have_. n                  ower o evv___ ar, conclude        ~2h~~''
               Laws in a neighbouring Province, establishing 'peace. c                     than .      tablish Commerce
               therein an Arbitrary government, and enlarging '         ~d to do all other Acts an            which Inde-
               its Boundaries so as to render it at once an ex- ~„ ent Staten may of rieht do And for ~hP cnn-
               ample and fit instrument for introducing the pow of this D
              same absolute rule into these Colonies:                     e     ,ention of divine Providence we muY,»-
                  For taking away our Charts                     our ally pledg~to each other our Lives, our For-
`
~ y~           mos~vaTuable ~awa      an  a]tarrn~   nndamentally_ tunes and our sacred Honor.
  ~ 1~  .~ the Forms of our Governments_.                                                            ,- JOHN HANCOCK.
                  For suspending our own Legislatures, and de-
               Glaring themselves invested with power to legis-                           New Hampshire
              late for us in all cases whatsoever.
                ~Iie has abdicated Government. here ~y rye .far- JoS12,x Bnx,TT,ETT,              MATTHEW THORNTON.
~    ~~ ing us out of his_Prote                        wading War wM. w~PLE,
              a~'ai"--~R•                                                               Massachusetts Bay
                  He has lp undered our seas, ravaged our Coasts,
               burnt our towns, and destroyed the lives of our          SAML.  ADAMS,             ROBT. TREAT PAINE,
               people.                                                  JOHN ADAMS,               ELBRID(~E GERRY.
                 He is at this time tranaportin far e Armies of                            Rhode Island
              foreign M_p_r~,ena.r103~0 comp,eat_ the works o
               death, desolation and tyranny,_ already begun-"' STEP. HOPRINS,                    WILLIAM ELLERY.




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                                                Connecticut                                                    Virginia
                      ROGER SHERMAN,                       WM. WILLIAMS,           GEORGE WYTHE,                     THOS. NELSON, jI'.,
                      SAM'EL HUNTINGTON,                   OLIVER WOLCOTT          RICHARD HENRY LEE,                FRANCIS LIGHTFOOT
                                                                                   TH.JEFFERSON,                       LEE,
                                                 New York
                                                                                   BENJA. HARRISON,                  CARTER BRAXTON.
                      WM. FLOYD,                           FRANS. LEWIS,
                      PHIL. LIVIN(3STON,                   LEWIS MORRIS.
                                                                                                          North Carolina
                                                 New Jersey                        WM. HOOPER,                       JOHN PENN.
                      RICHD. STOCKTON,                     JOHN HART,              JOSEPH HEWES,
                      JNO. WITHERSPOON,                    ABRA. CLARK.
                      FRAS. HOPKINSON,
                                                                                                          South Carolina
                                               Pennsylvania                        THOS. HEYWARD,                    THOMAS LYNCH, Junr.,
                      ROBT. MORRIS,                        JAS. SMITH,              Junr.,                           ARTHUR MIDDLETON.
                      BENJAMIN RUSH,                       GEO. TAYLOR,            EDWARD RUTLEDGE,
                      BENJA. FRANKLIN,                     JAMES WILSON,
                      JOHN MORTON,                         GEo. Ross.                                         Georgia
                      GEO. CLYMER,
                                                                                   BUTTON GWINNETT,                  GEO. WALTON.
                                                 Delaware                          LYMAN HALL,
                      CAESAR RODNEY,                       THO. M'KEAN.
                      GEO. READ,                                                     NOTE.—Mr. Ferdinand Jefferson, Keeper of the Rolla in the De-
                                                                                   partment of State, at Washington, says: "7`he names of the aign-
                                                 Maryland                          era are spelt above as in the fac-simile of the original, but the
                                                                                   punctuation of them is not always the same; neither do the
                                                           CHARLES CARROLL OF      names of the Statea appear in the fac-simile of the original. The
                      SAMUEL CHASE,
                                                                                   names of the signers of each State are Krouped together in the
                      WM. PACA,                             Carrollton.            ray-9tmiie of the original, except the name of Matthew Thorn-
                      THOS. STONE,                                                 ton, which follows Lhat of Oliver Wolcott."




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                         '~ for Uv~+n ~s a C.In
                                                tic~ 1~ ~orv~i ~rr~t~~ ~ a ~~ is g~~e~►n . u~w~,l -f~e-
                            ~overnmen~- 5'~
                                             Il ~., vin ~1~s -~1~~I~er :uv~c~ ~~~s ,~rv~e ~~ t
                           be Ccaier~
                                      U~v1~1~.~Fv1 ~ ~.~vr~~r~..~~or~ `~C~rvz. w~< <
                            2~/2.Y         ict<;~-i l~f~ ~~n-~-L                  ~~ ~~o~ ~,-~,
                                                                        tor~ ~'~e, ~r- ~ nce. ~ ~G                                     z ~
                             ►hL~re~ase o .~~ ~                                                                    '1'~~lGC                            -~~t-e--
                                                               l~s         v~ r,nv,~ euvk~ ~,+-~t~
                                 'P                               -t~,,ro;~t, ~
                                     '~-.                                               ~av~~~~ ~iv~ca V.~,vt 1~i5 ~~rtajC~.om~
                           ~ ord~..~
                                 inn ,~1K~~c~, ~'r~                                                                        ~ `~~Xv~ fib" Ol v~.G~1
                             ZS~- -~- j,►e                                  ~~VC~Q~or-~1~1 2,V-P,rt
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                      !~~r~ ~~~1~JZ~~ ~{(t~~~ X11 It`s 1 11`~~ ~~~~~~~ ~~-K C
             htt s:lfwww.urbandictionar .com/define. h ?term= an %20stalkin                       ~''~"1~~~ ~''~ t~~~CS
             Gang Stalking is stalking by more than one person to a victim, usually
'            involving community harassment, or the "mob", using people from all backgrounds                              ,~
~~~~~        and vocations to harass, tracking 24/7, sometimes organizing lethal vehicle accidents,                        ~~
             poisonings, electronic harassment, home invasions/property destruction, corrupt or                 ~          ~"
     ~~      ignorant doctor diagnosis given to stamp the victim as bogus mentally ill with delusions ~ ~ s~
{~           paranoid, or schizophrenia, etc. Everything is done covertly, and with a sophisticated              ~ ~ ~
             real time dispatching system to organize the criminals' harassments anc~attacks, often              ~..f ~~
~
,            in e un re s o Dusan s o criminals participating as a coor mate~m
            given time while the criminals due their normal routines    of work,
                                                                 -_ -- _ _._     shopping,
                                                                                                 `"any
                                                                                             commuting               ~
                                                                                                                       ~ ^ ~7
                                                                                                                           ~o
            to and from work, eisure, e c., using the method of moving foot and vehicu~a~                            :     t~
            survei ance techniques, and computers, cell phones, verbal and visual cues, and every                          C,
            other conceivable type of communication.                                                             ~,        ~
                                                                                                                 1~`       l~
            Often, the local network of this mob is c~nn~cted to a na Tonal and international network
            - funding is done by illicit drug industry/crime syndicates, CRIMINALS working in
            corporate environments, and government sponsored terrorism for military weapons
             research using unconsented human medical research testing linked to
            teaching/research hospitals. Practically all work environments and local communities
             have been compromised and set-up as a super domestic terrorism predator for mob
            antics- in every form of business, the government, and even police and fire departments
            and intelligence agencies. All of those entities have been rEportedly ,on the Internet and
            by victims accounts , to have been infiltrated with SOME of these numerous criminals
            willing to do this crime for money, greed, revenge, politics, war on the poor and
            disabled, psychological warfare and Direct Energy Weapons testing/research for
            contractors of psychotronic equipment,(psychotropic drugs was added by: Victoria
            Dillihunt and mind control operations. No p ace is im une r           ese crimina i
             b~iorcs;not even hospitals or police stations. These weapons, which omit various forms
            of Electromagnetic Frequency(EMF or RF: radio frequency), and other tactics are
            meant to mimic natural illness, and mental illness. Organ and cell damaging, Pictures
            and sounds, mind reading, and dream interrogation can be achieved now by satellite
            delivery, CCTV, house wiring serving as a conductor, or even portable devices that are
            ton c _crPt anr~ ~A~~Pr~ technoloay. 1~ut both the good puvs and the~asiauvs have gotten
                                                  a to sometimes ive         rs 's Tire into the rouna, -
            with ho es o t e             un rova e crime resu s. ese F Weapons can cause
                is e es, cancer, and a host o of er diges ive an other terrible diseases. Remarkably,
            it's not usual for some neighbors, co-workers, or family members to ALREADY be
            involved in these secret operations before a related victim is chosen to be attacked.
            That is a closely guarded secret, and hardly any person who is unfamiliar with gang
            stalking or mob organization and tactics would believe to be true. Often, person known
            by the victim are recruited before or after the victim even realizes what is happening,
            that his/her life has the problem of gang stalking. Some victims never figure out that
            they are being attacked covertly, even if they die, or who is the main aerson of group
            who desired the criminals to destroy the often innocent victims life. Corporate and
            influential well connected small business owners to politicians and the underworld can
            put a person on this list to be attacked by gang stalking, and the other criminal
                                              P~g'~ `f0,
7~                                           _ 'P~            Q                                    ~` 5
                                                                                   ~.~~ ~- c9~.~cxtG~es~
         t ~ e~e~ ~4~ -r~ Ur~~ ~~ ~~ I`~l~C~i~ ~ t~r.~ -~~~ v'1Qu,                                       l~~a-I~ -~1,~-
              'v•~Y~i          a~i4~C~, `i     ~i~ ~Q.~      ~'~Q~,U    ~Y ~'fC, rl~.~'~C~`'~~'~` ~Q    U ~ C~
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    components that go along with it. There is belief that this crime, gang stalking, is often
    the underbelly, or dark side of "The New World Order" that the elder President George
    Bush spoke of in the early 1990's. New World Order is a push by Bush and his millions
    of partners to have the USA be the strongest leader in the new one world gIobal
    government that is taking shape now, and already basically exists in the illicit drug
    trade. George Bush believes in partnerships between the government and criminal
   syndicates as evidenced by the Iran-Contra War scandal. Gang Stalking increased
    dramatically starting under the elder George Bush Presidency, and continues growing
   exponentially like an evil cancer across the world. There are thousands, if not millions of
    victims. For a relevant history, look up "The Dan Bolles Papers" on Google concerning
  `desSchuld case. Also, look up the "Ken Wilbourne Jr" on Google that directs to
    the perfect.co.uk web site. Note: RF Weapons can be made by savvy electrical criminal
   from parts from electronic stores, and are used to make a beam weapon utilizing
    destructive ionizing radiation or microwaves into a persons house using precision for
   that one intended victim, can cause radiation sickness, as said cancer, and worse,
   even sudden death by heart attack, or brain stroke.
   Eleanor White, and Liza Parker have websites concerning the crime of gang stalking,
    which needs to be better competently addressed by law enforcement and new laws put
   on the books to protect innocent citizens from gang stalking, electronic harassment,
   and RF weapons. informed eo le in societ ,and the cri
       sh crime                                          a ie ri ht out of hell. See also:
    min bus ice.org , www.eharassment.ca, www.raven 1.com, an mm control forum ".
    There is a saying: "Its better to light a candle than to curse the darkness". I believe in
   good government, not bad government laced with human rights abuse that the
   seemingly Nazi ties and family history President Bush has at his core. The Nazi
   Germany state believed some lives are not worth living, and committed atrocities on
   humans on a mass scale on behalf of the elite who were under a Satanic delusion.
   Senator Prescott Bush, the Grandfather of George Bush, financed Hitler's rise to
   power, along with his other partners. It's easy forme to see that the Iraq war'is a lie. 1
    voted for George Bush twice as 1 am a Christian, as I trust in Jesus Christ to be
   savior to grant me eternal life, but I am no longer fooled this bad guy in disguise,
   George Bush. He is an extremist for money and power for the himself and his elite
   partners and elite society. He just cut 50 billion dollars from the poor, disabled, and
   honest students. lt's little wonder why USA is now called the Great Satan in the world
   under his leadership. World Trade Center Tower 7 fell without a plane attack?? Hmm...
   interesting. Afghanistan opium production is up by 500 percent since USA Bush took
   influence according to Newsweek Magazine, and still climbing to the applause of some
   USA economists?? Hmm. Put it all together, what do you get??? God or mercy or some
   savior help us all. We have entered into a very dark period under George Bush,
   disguised as glib words such as 'peace, democracy, prosperity, re_gime change, fight
   against terrorism, etc."!! Einstein said evil(such as Bush) would never prevail if good
   people would tell the truth. What a thief George Bush and my criminal relatives are is on
   my life, and also on the lives of so many other gang stalking and other terrorism victims
   of his regime across the world. (other reference, The Harold Groome Jr —Wilbourne -
   Johnson Crime Family of Richmond, Virginia.
   by In memory of E.L. Wright November 20, 2005

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   M
  Project MKUltra (or MK-Ultra)~a~ was an illegal human                                       . _ ..
  experimentation program designed and undertaken by the U.S.
  Central Intelligence Agency(CIA),intended to develop procedures                                                              ~~~ 1
  and identify drugs that could be used in interrogations to weaken                                                 u
  individuals and force confessions through brainwashing and                                          '"""'""""""`"~"'"""
                                                                                                      w..~,..r..,_.,..~...~.a~
   s cholo
  ~..~Y..._~..._ ...~_ical torture.~
                            _       1~~2~[3][4]It began in i953 and was halted in               .y.._.._.~.,...~..~~..,,...._
                                                                                                "~"~""""            "`"`"~`""~
  1973. MKUltra used numerous methods to manipulate its subjects'                           - _ ~.:.w~              ...      .»
  mental states and brain functions, such as the covert                                         ~'"""°"~~"`
                                                                                                r                    ""'~"""~T
                                                                                                   ww~.wra w.r.~ r..r.  v.rrrw s

  administration of high doses of psychoactive drugs (es pecially                         ~     ,..~....
  LSD)and other chemicals, electroshocl~,~5              ~ygnosi~,~6~~?~ s~nsS2~          ~     ~....,,  ~.,.......~..`.__.,.~...,.f.,
                                                                                                      '~'~'"~~"~`""~"~'""~""
   ~~tion~
  depr~      va          is4l~ti~.n,.and._~er.LbaLand sexu~,l..a~Z~~.,__i~,addition to
   nthn~fnrmc of tnr+„rn ~8~~9~                                              .`- - - --


  MKUltra was preceded by two drug-related experiments, Project                        ~--          ;,, ,,
  Bluebird and Project Artichoke.            It was organized through      ,~.,,~,~
  the CIA's Office of Scientific Intelligence and coordinated with the     Decl~ssiF€ed MKUltra dacuments
  United States Army Biological Warfare Laboratories.[-----      12]
                                                                     The
  program engaged in illegal activities,~13~~14~~15~ including the use of
  U.S. and Canadian citizens as unwitting test subjects.~13]~74[16][17][18]Over ~,000 American veterans
  took part in these experiments non-consensually during the i9 os through i97os, many o t em suing
  later on.L~9~ MKUltra's scope was broad, with activities carried out under the guise of research at more
  than,8~institutions aside from the military,~2O~ including colleges and universities, hospitals, prisons,
  and pharmaceutical com anies.~21~ The CIA operated using front organizations, although some top
  officia s at these institutions were aware of the CIA's involvement.~131

  MKUltra was first brought to public attention in 1975 by the Church Committee of the United States
  Congress and Gerald Ford's United States
                                      _ __ __ President's Commission on CIA activities within the United
  States (also known as the Rockefeller Commission). Investigative efforts were hampered by CIA
  Director Richard Helms's order that all MKUltra files be destroyed in i9~3; the Church Committee
  and Rockefeller Commission investigations relied on the sworn testimony of direct participants and
  on the small number of documents that survived Helms's order.~22~ In 1977, a Freedom of
  Information Act request uncovered a cache of 20,000 documents relating to MKUltra, which led to
  Senate hearings.~13][?3l Some surviving information about MKUltra was declassified in July 2001.



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    Background_
       Origin of project
       Origin of cryptonym
       Aims and leadership
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           Other related projects            "~ ~ yn~
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       Other drugs
       Hypnosis
    Experiments on Canadians
       Motivation and assessments
    Experiments
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    Deaths
    Legal issues involving informed consent
    Notable people
    Aftermath
    In popular culture
                  ._ ._
        Music
        Television
        Video games
    See also
    Notes
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    Further reading
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  Background

  Origin of project
  According to Stephen Kinzer, the CIA project "was a continuation of the work begun in V~~T_Pr
  JananP~P fa~~l;+;ter, and ~Ta~i concentration camps on subduing and controlling human minds". Kinzer
  .~
  writes that MKUltra's use of mescaline on unwitting subjects was a practice that Nazi doctors had
  begun in the camps at Auschwitz and Dachau.    .. Kinzer gives evidence of the continuation of a Nazi
  agenda, citing the CIA's secret recruitment of Nazi torturers and vivisectionists to continue
  experimenting on thousands of subjects, and Nazis were brought to Fort Detrick, Maryland, to
  instruct CIA officers on the lethal uses of satin ~as.~5~

  The Soviet Union also contributed greatly to the motivation for this project; according to CIA director
  Allen Dulles, fear of"Soviet brain perversion techniques" was palpable. The CIA wanted to verse itself
  in this type of "mind control" to be able to recognize and use it in case of a conflict with the USSR.

https://en.wikipedia.org/wiki/MKUltra
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   Fear of the enemy ran rampant among Americans, especially upon                                                    ~ ~ ~~~~
   the sharp increase in PTSD in Korean POWs. The damage
   incurred on these survivors was so severe that mind control was                                               ,~~
   thought to be the culprits~4~                                                         ;~~          -'         '~ ,


                                                                                •.r1~M...~ u .~..... sas+.
   Origin of cryptonym                                                       ~
                                                                                      ~~~~             ~~~;~,Ai4'~
                                                                                 k A.i~ ' ail. u~i.~ ~ mektYw~,f~ as ♦ rALt si ew
                                                                                 .                                               ""`"
                                                                             b~ey~lW)~w[~i4x7,Kmi~~. ~ac6si~gYutf. nt a6ialet2 ~ri~uwu
                                                                                       L•D.A. W
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                                                                             wiat+/ L u.a..         ~ x.>.c.. at..~:.s ee+~.t ~a .~rs..w.
                                                                           ~'M1 t~+m~tK.r lerri~s~+em          ~ 1e M ~MII~I~II~S►.. ^~' ~

  The project's CIA cryptonym is a combination of the digraph MK,          ~~           . ,~~,,.,,,,,,~r ,~~, ~,,;                       .a
  indicating the sponsorship of the Technical Services Staff (TSS) ~              .~.~ .~ ,~.,,
                                                                                 ''"~`"'         ,~,,~" ~"'"""`"""`.
                                                                                            ~''~'~°     .~, ~ ~ ~..,.~
                                                                                                                  W„~   ,...u...,,~.
                                                                                                                        ~.   ""`
                                                                                                                       » ~..~ ~. ,~.`.  "
                                                                                         ~,..~.. ~      <_,~. ,
  and the word Ultra which formerly designated the most secret                  ~ . , ,„.,~, ,~,:~, s~„,,,,,,,~,,, _-
                                                                                 ~~S Fe M l~ yw.i.}   k1.r~14 W.~ w++leY. B



  classification of World War II intelligence. Other related                      ,,,,,~,y.~  „„,~ ,,,~,~„~,~g~+~.,.<~~.
                                                                                       ' ~~ru~u°r~irbu         ....,..,.,.,,..,~~ .~
                                                                                                                                   ~.
  cryptonyms include Project MKNAOMI and Project MKDELTA.                         "`~""""'~"'                  ,,,~'-~,~
  MKDELTA was established to oversee the use of MKUltra                                                     ~`                         '~
  materials abroad. According to the Church Committee, "such                                              --
  materials were used on a number of occasions".L~5~                                                           ` '-~~
                                                                                                                            ~,~,.,
                                                                                                               ~4i~ii ►
                                                                          Sidney Gottlieb approved of an
   Aims and leadership                                                    MKUltra sub-project on LSD in this
                                                                          June 9. 1953. IPtter.
  The project was headed by Sidney Gottlieb but began on the order
  of CIA director Allen Dulles on April i3~ 1953•[26][27] Its aim was
  to develop mind-controlling drugs for use against the Soviet bloc in
  response to alleged Soviet, Chinese, and North Korean use of mind
  control techniques on U.S. prisoners of war during the Korean War.~2g~
  The CIA wanted to use similar methods on their own captives, and was
  interested in manipulating foreign leaders with such techniques,~5~
  devising several schemes to drug Fidel Castro. It often conducted
  experiments without the subjects' knowledge or consent.LX91 In some
  cases, academic researchers were funded through grants from CIA front
  organizations but were unaware that the CIA was using their work for
  these purposes.L3o~

  The project attempted to produce a perfect truth drug for interrogating
  suspected Soviet spies during the Cold War, and to explore other
  possibilities of mind control. Subproject 54 was the Navy's top-secret
                                                                                          Sidney Gr~ttlieb, Sept, 21;
  "Perfect Concussion" program, which was supposed to use sub-aural                       X 977
  frequency blasts to erase memory; the program was never carried out.L31~

  Most MKUltra records were destroyed in 1973 by order of CIA director
  Richard Helms, so it has been difficult for investigators to gain a complete understanding of the more
  than i5o funded research subprojects sponsored by MKLTltra and related CIA programs.~32

  The project began during a period of what English journalist Rupert Cornwell described as "paranoia"
   t the CIA, when the U.S. had lost its nuclear monopoly and fear of communism was at its height.~33]
  CIA counter-intelligence chief James Jesus Angleton believed that a mole had penetrated the
  organization at the highest levels.~33~ The agency poured millions of dollars into studies examining
  ways to influence and control the mind and to enhance its ability to e~rtract information from resistant
  subjects during interrogation.~34][3s] Some historians assert that one goal of MKUltra and related CIA
  projects was to create a Manchurian Candidate-style subject.L36~ American historian Alfred W.
    ~1Q C~Y~z ~t1Q,~~ Yl~oti..1 ►~C:~~A`+'~ ~' ~uC~•42.1~~'t''~l~'~5 ~ ~,~t~.S
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   McCoy has claimed that the CIA attempted to focus media attention on these sorts of "ridiculous"
   programs so that the public would not look ~t the research's primary goal, which was effective
   methods of interrogation.~341


   Scale of project

   One 1955 MKLTltra document gives an indication of the size and range of the effort. It refers to the
   study of an assortment of mind-altering substances described as follows:L37~

   1. Substances which will promote illogical thinking nd impulsiveness to the point where the
       recipient would be discredited in public. (t'~'~~
   2. Substances which increase the efficiency of mentation and perception. ~~,}.►.~~
   3. Materials which will prevent or counteract the intoxicating effect of alcohol.
   4. Materials which will promote the intoxicating effect of alcohol.
   5. Materials which will produce the signs and symptoms of recognized diseases in a reversible way
      so they may be used for malingering, etc.
   6. Materials which will render the induction of hypnosis easier or otherwise enhance its usefulness.
   7. Substances which will enhance the ability of individuals to withstand rivation, torture, and
      coercion during interrogation and so-called "brain-washing". Cf✓~P~~
   8. Materials an physical methods which will produce amnesia for events preceding and during their
      use. ~i~-~~•~
   9. Physical methods of producing shock and confusion over extended periods of time and capable of
      surreptitious use.
  10. Substances which produce physical disablement such as paralysis of the legs, acute anemia, etc.
  11. Substances which will produce "pure" euphoria with no subsequent let-down.
  12. Substances which alter personality structure in such a way the t ndency of the recipient to
      become dependent upon another person is enhanced. ~~^~~,{,,~~~,~~
  13. A material which will cause mental confusion of such a type the individual under its influence will
      find it difficult to maintain a fabrication under questioning.(~'~~~
  14. Substances which will lower the ambition and general working efficiency of men when
      administered in undetectable amounts. ~~y~c~l rN{3v'S
  15. Substances which promote weakness or distortion of the eyesight or hearing faculties, preferably
      without permanent effects.
  16. A knockout pill which can be surreptitiously administered in drinks, food, cigarettes, as an aerosol,
      etc., which will be safe to use, provide a maximum of amnesia, and be suitable for use by agent
      types on an ad hoc basis. C~Xoc~~
  17. A material which can be surreptitious) administered by the above routes and which in very small
      amounts will make it impossible for a person to perform physical activity.


   Applications                                     ' j~ ~~, ~~ V
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   Gay bomb
  The "gay bomb" and "halitosis bomb" are informal names for two non-lethal psychochemical
  weapons that a United States Air Force research laboratory speculated about producing. The theories
  involve d'           x heromones over enem forces in orde to                                   d to
  each other.                                                                       i`~ ~~~iS o~C~Ct:~vt
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  In 1994 the Wright Laboratory in Ohio, a pre ecessor to today's United States~r Force Research
  Laboratory, produced athree-page proposal on a variety of possible nonlethal chemical weapons,
  which was later obtained by the Sunshine Project through a Freedom of Information Act
  request.[1][2][3][4][5]




    Contents
    Background
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    Leaked documents                                          V                       ~i
    Body odors
                                                              ~ ~~~~        ~              ~
    Ig Nobel Prize awards                         —               '             4
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    Notes                                                    ~~Y~       J            ~1

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  Background                             ~~                         ~
  No well-controlled scientific studies have ever been published suggesting the possibility of
  pheromones causing rapid behavioral changes in humans.~6~

  Some body spray advertisers claim that their products contain human sexual pheromones which act
  as an aphrodisiac. In the i9~os, "copulins" were patented as products which release human
  pheromones, based on research on rhesus monkeys.~6~ Subsequently, androstenone, axillary sweat,
  and "vomodors" have been claimed to act as human pheromones.~~~

  Despite these claims, no pheromonal substance has ever been demonstrated to directly influence
  human behavior in a peer reviewed study.~6~~?~~g~

  Using a brain imaging technique, Swedish researchers have shown that when homosexual and
  heterosexual males are presented with two odors that may be involved in sexual arousal their brains
  tend to respond differently, and that the homosexual men tend to respond in the same way as
  heterosexual women,though it could not be determined whether this was cause or effect.~9~ The study
  was expanded to include homosexual women; the results were consistent with previous findings
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   meaning a omosexua women were not as responsive to male identified odors, while their
   response to female cues was similar to that of heterosexual males.~1O~ According to the researchers,
   this research suggests a possible role for human pheromones in the biological basis of sexual
   orientation.[ilk

   Leaked documents
   In both of the documents,the possibility was canvassed that a strong aphrodisiac could be dropped on
   enemy troops, ideally one which would also cause "homosexual behavior". The documents described
   the aphrodisiac weapon as "distasteful but completely non-lethal".~2~~12

   Body odors
   Body odor remote-engineering, involving compounds found in halitosis and hyperhidrosis, was
   another possibility discussed. Again, these effects would be produced by anon-lethal chemical
   weapon—possibly one that would affect the hormonal and digestive systems. It appears that a 'heavy
   sweating bomb', 'flatulence bomb' and 'halitosis bomb' were also considered by a committee at the
   time. The plan was to make an enem so smelly they could be quite literally sniffed out of hiding by
   their opponents.     ~~, `     y~
                             , ~~
  Ig Nobel Prize awards
  Wright Laboratory won the satiric 200 Ig Nobel Peace Prize for "instigating research &development
  on a chemical weapon—the so-called 'gay bomb'/'poof bomb'—that will make enemy soldiers become
  sexually irresistible to each other."~~3]


  See also
     ■ Bremelanotide, the only known synthetic aphrodisiac
     ■ Frey effect (science)
     ■ Misattribution
          _.          of arousal
     ■ 30 Rock, a sitcom which featured a working gay bomb in the episode "footer".
     ■ Brickleberry, a sitcom whose sixth episode,"Gay Bomb", involves a gay bomb.
     ■ The Alex Jones Show, a conspiracy theory outlet, talks about how Atrazine runoff is the equivalent
       of a gay bomb by causing the endocrine system of amphibians to alter their gender.


  Notes
    1. "Pentagon toyed with 'gay bomb'"(https://archive.today/20070616042537/http://www.france24.co
       m/france24Public/en/news/americas/20070616-US-army-gay-bomb-developing-a--gay-bomb-.htm
       I). France 24, Agence France-Presse. 15 June 2007. Archived from the original (http://www.france
       24__com/france24Public/en/news/americas/20070616-US-army-gay-bomb-developing-a--gay-bom
       b-.html) on 16 June 2007. Retrieved 15 October 2015. Alt URL (http://web-capture.net/picture.ph
       p?pic index=1 &presentation method=inline~



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                             d~r~~1 ~~                         "GOD DID" lyrics



                                                       D~ Khaled Lyrics
                                                                "GOD DID"
                                         (feat. Rick Ross, Lil Wayne, JAY-Z,)ohn Legend & Fridayy)


                                                             It breaks my heart
                                                           They ain't believe in us
                                                              We the Best Music
                                                           They played themselves
                                                     W hile you hatin' and being jealous
                                                 You could be over here embracing that love
                                                    More love, more blessings, more life
                                                            GOD DID (GOD DID)
                                                 You either win with us or you watch us win
                                                                  D]Khaled

                                                They wanted us down, ooh-woah
                                                      But look at us now, oh
                                     They counted us out (Time to say a prayer, M-M-M—)
                              They didn't think that we would make it, oh (May we bow our heads)
                                               They didn't believe in us, oh (Huh)

                                              But I know God did, God did (Oh, yes, He did)
                                                      Oh, God did (Oh-oh, Khaled)
                                                    Oh, yes, God did (Oh-oh, Khaled)
                                                       Oh, God did (God is great)
                                                           But I know God did

                                         Nosedive, they just prayin' that I crash (Huh)
                                          Those guys, they don't wanna see you last
                                      They'll jack up three million dollars up on your tax
                                              A tub full of money, I still can't relax
                                          Tires spinnin', Lord forgive me, I'm a sinner
                                                      Conquer, divide niggas
                                         Wrong side of the petition, only divine winnin'
                                        Better listen when I tell you how I put time in it
                                                   Please, forgive me, God did
                                      So leave me in the dark, swimmin' with the sharks
                                           Dope boy, big calm, still the biggest boss
                                          Got a kilo on a plate, send 'em on a freight
                            Or I can go and buy a bank, I know my money's safe (Maybach Music)

                                                            They counted us out
                                                They didn't think that we would make it, oh
                                                       They didn't believe in us, oh

             \                                But I know God did, God did (Oh, yes, He did)
                                                          Oh, God did (Oh-oh)
                                                        Oh, yes, God did (Oh-oh)       .~ ~?~
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'; C-~~~~~~'                                                       Oh (Mula)
                                                            But I know God did (Uh)

                                                     Sky is the limit, every day I reach
                                            They was tired of me winnin', now they dead sleep
                                           Don't wan' see me with the ring? You better play D'
                                                Nigga, God did His thing when He made me
                                       With the odds stacked against me, I could crack Da Vinci
                                          I know only God can judge us, I say that for Brittney
                                         They smell blood like the sharks, they start actin' fishy
                                      Well, I'ma have to act a ass and they gon' have to kiss me
                                                   Please, don't hate me just to hate me
                                          Before they overrate me, they gon' underestimate me
                                             Funeral and wake me, bury me and excavate me
                                    But I'm so cultivating, everybody replicate me, nigga, face facts
                                                    Dreadlocks, face tats, I'm the apex
                                           I made the culture, what up, twin? Never laid back
                                         I fucked the world and when I did, I practiced safe sex
                                                I pray more and said less, God did the rest

                                                             They counted us out
                                                They didn't think that we would make it, oh
                                              They didn't believe in us (It breaks my heart), oh

                     But I know God did (Where we at Gu?), God did (Oh, yes, He did, where we at Gu?)
                                                  Oh, God did (Oh-oh)
                                                Oh, yes, God did (Oh-oh)
                                                       Oh, God did
                                                   But I know God did

             ~ `~                     ~~~1 ~ ~                    Hov did
           ~~a                               Please, Lord forgive me for what the stove did
                                                  Nobody touched the billi' until Hov did
                                         How many billionaires can come from Hov crib? Huh
                                                       I count three, me, Ye and Rih
                                               Bron's a Roc boy, so four, technically (Woo)
                                            I left the dope game with my record clean, huh
                                               I turned the cocaina into champagne, huh
                                          I cleaned up la madrina with the same soap, huh
                                            Me and Loro talk 'bout how we slang dope, huh
                                          Now the weed in stores, can you believe this, Ty?
                                       I put my hustle onto Forbes, can you believe this guy?
                                             Then we said, "Fuck it," took the dope public
                                 Out the mud, they gotta face you now, you can't make up this shit
                                          J udge it how you judge it, say we goin' corporate
                                            Nah, we just corner boys with the corner office
                                                 I'm at the cap table, what the splits is?
                                                    Not that cap table, boy, we live this
                                                        Breezy what the business is
                                   We pushin' Fenty like Fentanyl, the shit is all legitimate (Woo)
                                                          E was down ten for this
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                                  We just got his ten back then went back like, "Where the interests is?"
                                                                 Em light up the 03 ~Qr$,QYt{'S ~(~dg -~1Q PI~~ ~~~~hG,'~~~`'
     ~~,~1i/`~        ~+                            We let y'all do the zazas, OG for the OGs                    ~~
  ~  ~I~r
           p~`~~                                 Some new niggas out of pocket, talkin' exotic
            1~                          You barely been to the Baham— (Haha) that's another topic
                                                   Monogram in my pocket off the red carpet
                                           You see the face I made that night, shit is that shockin'
                                                     Odds wasn't great, we'd even be alive
                                                  Gotta be crazy to y'all niggas, we surprised
                                                 Shit is too much how we grew up (Grew up)
                                                     Shit don't even feel real to us (Damn)
                                                       OG sold to those, you called kingpin
                                                                                                                            yoV~2
                                               If those your drug lords, then who are we then? ~1i~~~r~'~~ ~~~'ti0~
                                                           Hov is a real nigga's dream               t, ~~1 rvc~ \ oY ~. •-
                                                  My only goal, to make a real nigga feel seen ~..~~ ~m~~~~ ~~~~
                          ~vt~~~.}~ ~S ---Sometimes, it make a fake nigga h                 life                           ,
                                           Never my intention, the consequences of my way of life G~fnSt~~.~ c..~~~„~S
                                                        The way we used to play with life
                                   I'm now careful with the sentences, them only jail bars I like (Woo        ~g~ri~
                                            I never wanted to be the state custodian (Come on)                       i►~9 ~~~ `~~
                                                                                                         ~~~ ~~                 .,
    Cornrn~n~~'           a ~ Wor51~~'~~i ~'~ The laws are draconian (Come on, Hov)                               ~       ~`
                                                                                                                           1~m~~
                                         p ~                                                                                 (~M~-o~~
 ~~~ ~ ~~;~e~ For those married to                          life (Come on), it's holy matrimony and (Come on)
                          ~~!Somehow, I'll out-fox every box they'll try to throw me in (Come on)                  ~~ ~5 ~`~~'
             (~ir►n~n~ ice' n~v`,~~                          With great ceremony and                                       ~1'iGs
          -~" 9'~`~~ D~~ ,tyUS Folk and 'nem told me how highly Caddy spoke of him                                   ~r~~ CuYSeS
          ~, ~~t5 a~                    And bloke and 'nem from London, Harold Road, Weston Inn
    ~„rQ~,                 ~~i.e~~(y 5        ~~ ~I be speakin' to the souls of men
                         Those of them willin to die for the existence that this cold world has chose for them
        ~¢~'{             ;  ~ -~~~,,                 Kickin' snow off a frozen Timb (Woo)                                             S
'~' ~,f„~'"~~`~~~              x          Back and forth on this turnpike, really took a toll on 'em        ~~~~„          ~~
~c ,~a x°         ,m~ ~                 ~          Lot of fallen soldiers on these roads of sm         ~~~~,~ ~~,e~~~ ~
                                                                                                                                 c-~- r~
~~^ ~~~~ ~~o~C`'                     For those who make the laws, I'ma always have smoke or them cbYrv~~'r' 1 ~'~',~
           ~\C~.                                  ~        I got lawyers like shooters --"~i~ ~, ~;,~~, ~,`~,~ ~~~,~Q~ `yr ~t ~
,`,~~ ~`                                Workin'   pro Bono for him as a favor 'cause I throw them Ms
                                                                In memory of Teelo                                    ~;(    ~,PX1'~
                                            I pray none of your people die over jailphones again       ~~~                          ~~
                                        All this pain from the outside, inspired all this growth within ~ ~ ~'~ ~~r~
                                                         So new planes gettin' broken in               ~~~~ ~'~ ~~~o~
                                                                                                                            Wi~ican~ ~3
                                                           Highest elevation of the self                 ~n0ar~~ ~,~X, S
              (`~ Yv~~~n          ~ They done fucked around and gave the right niggas wealth y~lrtv~i ~ tib2~~ ~~ ~
                ~         ni~                 These ain't songs, these is hymns 'cause I'm him             ~~~ ~ ~w►~ ~~S
                                ti~~~               It's the Psalm 151, this New Testament                                       ~_
                   ~~~'~-~                             The book of Hov (The book of Hov)                  ~n15 ~(D~.   w      -
                                          )esus turned water to wine for Hov it just took a stove          ~   aL~ ~~~~'
   ~s ~"~~~~ ~~rv~—_~                                You never know how this shit could go                  N~    ~°n~5~'r~~~W~
        d~ ~              Me and Biggs probably got too big if they ain't book that load (What's up Hoffa?) ~ern~~
~e °m~~~ ~,,,,S ~                                                Hindsight is 20%20                                ~~~~s)
 ~pi~i, ~ a~~                     Though he's gettin' plenty money, lookin' back now this shit is funny
 ' ~5 ~U~                                                 I just got a million ofF a sync
                                       Without riskin' a million years tryna get it out the sink (Woo)
                                                                      Hov did
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  ,\n~. ~          They said they don't know me internationally, niggas on the road did
~~~- ~                                  I see a lot of Hov in Giggs
                    Me and Meek could never beef, I freed that nigga from a whole bid
~~~~ ~                                       Hov did (Hov did)
               ~ Next time we have a discussion who the G.O.A.T., you donkeys know this
                               Forgive me, that's my passion talkin'(Naha)
   ~   ~~--       Sometimes I feel like Farrakhan (Naha) talkin' to Mike Wallace (Naha)
 ~i~/ ~      ~~                       I think y'all should keep quiet
                                         Breaks my heart (Naha)
 ~ni~ ~q ~0     ~3~                                God did
     ~ ~ ~~Sc ~
                                               They wanted us down, ooh-woah (Come on, man)
 ~'        ~
                  ~,
                           ~
                                                            But look at us now, oh
                                                              They counted us out
                      Q
                      ~                           They didn't think that we would make it, oh
                                                         They didn't believe in us, oh
                          ~     g

                                                  But I know God did, God did (Oh, yes, He did)
~~~ r~~~~~~~                                                  Oh, God did (Oh-oh)
                 C►eYe G~n~~r►y►,S
                                                            Oh, yes, God did (Oh-oh)
~1 l~'~mef w~t c-h 1s                                             Oh, God did

a            ~,-►~-1~ cl r~y~                     But I know God did, God did (Oh, yes, He did)
                                                           Oh, God did (Oh, God did)
5y~~ t2~s -r~,~                                             Oh, yes, God did (He did)
C.ammuh~ sk oeo~rewd a                                         Oh-oh-oh, God did

ar~d eh~r~. ,off S~~"-' ~                                             Yea h
                                                   And you may not believe, but I know God did
Wvrs►-i~.~ ~il~urn~R~
                                                             Oh, God did (God did)
                                                               God did (God did)
                                                                     Oh-oh
                                                              But I know God did
                                                                    He did it
                                                            Oh, He did it, yeah, yeah
                                                                    God did
                                                                    God did
                                                                    God did
                                                                      Yea h




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   A New Beyonce-Inspired Religion Called
   `Beyism' has Been Created
   Publish Date




   Back in January a new Kanye West-inspired religion was created by a 23-year old man so it
   should come as no surprise to learn that a Beyonce-inspired religion has also been created.
   Beyism is the name of this new religion which was created by a group of 12 friends in Atlanta,
   CA,led by aself-proclaimed Minister Diva named Pauline John Andrews. HMMM.The group
   claims that the inspiration for Beyism came from one of their weekly hang sessions where the


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   friend would gather every Sunday to sing her songs. While smoking marijuana, they say, the
   inspiration for this Beyonce-inspired religion sprang froth. Imagine that.



   "A group of 12 friends from Atlanta., Georgia have taken their admiration for the singer Beyonce
   to a more spiritual level. Zay of www.MapeNation.com reports that Pauline John Andrews is the
   founder and self-proclaimed "Minister Diva" of the new National Church of Bey. What is now
   known as Beyism began about two years ago in a run-down garage in Southwest Atlanta."There
   were 12 of us," Andrews explained,"and we used to gather every Sunday and sing her songs
   together. One day, while drinking Moscato and smoking Beyha (marijuana), we analyzed one of
   her songs and came to the realization that Beyonce is truly divine." From that moment moving
   forward, Andrews took the reigns as the leader of the Divine Divas. Some time in the summer of
   2013,they adopted the name "National Church of Bey" and registered themselves as anon-profit
   institution. Pauline John Andrews proclaimed herself the first Minister Diva of the National
   Church of Bey. Through donated funds, and by all 12 members emptying their savings accounts,
   the church was able to purchase a building that would become their first temple. The rest is
   history. Today,the National Church of Bey is thriving and shows no signs of slowing down. The
   congregation has grown to 203 official Divine Divas. One random visit to the temple on a
   Saturday night would prove to be an interesting experience. You would get to listen to Minister
   Diva Andrews preach from the principal text of Beyism known to them as the Beyble. Andrews
   explains,"Our most sacred text is a compilation of all of Beyonce's verses and lyrics. Through
   our Beyble, we can better ourselves and strive to become truly Divine Divas." Shouts of
   "Surfbort!" were made by fellow divas as a sign of approval for her statement. Minister Diva
   Andrews estimates that there are at least 58 million worshippers of Beyism, but 99°/a of them
   simply don't realize it."    T-
                                 ``.                                                              l,~ ~~-s
                  `~s --s~~                      A~~

   ""Whenever you see a large group of women defending the actions of her divine divaness, Bey,
   they are practicing Beyism," Andrews explained,"It is not about believing she rose from the
   dead, or that she is perfect or anything like that, it is about recognizing that she is the Divine
   Diva that we all strive to be." As for who can join the National Church of Bey? Well, 100% of
   the congregation consists of women, but males are welcome to join the church on the strength of
   one condition —they sacrifice their manhood."                             n                    ~ ~

     "All males are to go through a3'`ymbolic ceremony known as Bicchen in which they
~'~ symbolically remove their penises and then declare their allegiance to the Divine Diva, Bey. At
    the conclusion ofthe ceremony,the member then achieves the status ofPuhcee. What the future
    holds for the National Church of Bey is unclear. The hope of the church is that the millions of
    fans recognize that they are practicing Beyism. Once this happens, the true aspirations of the
    Divine Divas can finally be met. What is that you may ask? According to Minister Diva
    Andrews, it is "for the whole world to bow at the feet of the Goddess Beyonce and recognize that
    she is the Diva of all Divas!" ~~`~-~L

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                                                           Religion News Service

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      Faithfully Feminist                                         ~v~~-f-~~~~ C~ '. ~
     Beyonce invites church girls to celebrate their
     freedom
      In her newsong 'Church Girl,'Beyonce doesn'tjustgive church girls permission to
      dance.she also defends u_s_                           _      r




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    CHURCH GIRL                            Overview           Lyrics          Videos   listen         Artists
    Song by Beyonc8 i



    Lyrics                                                                                                          Listen

    Ooh, ooh (I wanna be centered)
    Ooh, ooh (I wanna be centered, I wanna be centered in thy will)

    I've been up, I been down                                                                                         Spotify        YouTube   Pandora     Apple Music
    Feel like I move mountains                                                                                                        Music
    Got friends that cried fountains, oh

    '
    I m warning everybody, soon as I get in this party
    '
    I m gon' let go of this body, I'm gonna love on me                                                              About
    Nobody can judge me but me, I was born free
                                                                                                                    Released: 2022
    I'll drop it like a thotty, drop it like a thotty
      said, now pop it like a thotty, pop it like a thotty(you bad)                                                 Album: Renaissance
    Mi seh, now drop it like a thoriy, drop it like a thotty(you bad)
                                                                                                                    Artist: Beyonc8
    Church girls actin' loose, bad girls actin' snotty(you bad)
    Let it go, girl (let it go), let it out, girl (let it out)                                                      Genre: R&BlSo~l
    Twerk that ass like you came up out the South, girl (ooh, ooh)                                                                                            Feedback
      said, now drop it like a thotty, drop it like a thotty (you bad)
    Bad girl actin' naughty, church girl, don't hurt nobody
                                                                                                                    People also search for
    You can be my daddy if you want to
    You, you can be my daddy if you want to
    You can get it tatted if you want to
    You, you can get it tatted if you want to (she ain't tryna hurt nobody)

    Put your lighters in the sky, get this motherfucker litty
    She gon' shake that ass and them pretty tig of bitties (huh)                                                     ENERGY       MOVE         Center of
    So get your racks up (word), get your math up (uh)                                                               lyrics       lyrics       Thy Will
    I ma back it up (uh), back it, back it up (back it, back it up)
    '                                                                                                                Beyonce      Beyonce      lyri...
    '
    I ma buss it, buss it, buss it, buss it up, back it up                                                                                     The CI...
      see them grey sweats(grey sweats), i see a blank check

    I'm finally on the other side, I finally found the urge to smile
    Swimmin'through the oceans of tears we cried (tears that we've cried)
    You know you got church in the morning (the morning)
    But you're Join' God's work, you're goin' in
    She ain't tryna hurt nobody
    She is tryna do the best she can
    Happy on her own, with her friends, without a man

    I'm warning everybody, soon as I get in this party
    I'm gon' let go of this body, I'm gonna love on me
     Nobody can judge me but me, i was born free (born free)

    I'll drop it like a thotty, drop it like a thotty
      said, now pop It like a thotty, pop it like a thotty (free, you bad)
    Mi seh, now drop it like a thotty, drop it like a thotty (free, you bad)
    Church girls actin' loose, bad girls actin' snotty (you bad)
    Let it go, girl (let it go), let it out, girl (let it out)
    Twerk that ass like you came up out the South, girl (ooh, ooh)
      said, now drop it like a thotty, drop it like a thotty (you bad)
    Bad girls actin' raunchy, church girl, don't hurt nobody (don't hurt nobody)

    You can be my daddy if you want to (you bad)
    You, you can get it tatted if you want to(you bad)
    Put your lighters in the sky, get this motherfucker litty (you bad)
    She gon'shake that ass and them pretty tig of bitties
    So get your racks up (ooh), get your math up (ooh)                                          ~~-~~ 3~            ~r
    '
    I ma back it up (back it up), back It, back it up (back it, back it up)


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                Activism                                          \     ~„QG~ ~'r- ~ ~2~G~          j~~}~(~y7~~~ ~~~ev~~~~sa~ ~
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 ~,~ •~  Beyonce                                             at President 8arack Ob~a's 2t}C7~ ~~residentiai
  -      ~~
         inaR iratiori, as well -  "At fast"       ing the firstina             ance at the
                                                                                          Neip~h borhood Ball two dad s
         later.~j-"'~ The couple held a         iser at Jay-Z's ~tJ_(4t~_Clut? in Manhattan for      sideOa's_2~1
         presidential campai~ri~._'''~
                           —           which  raised  $4  million  "`'= In the  2012__~residential
                                                                                — ----             election, t e singer voted
         for President Obama.~'`''1 She performed the American national anthe                  ~t~ta~r-Spa~        ar7r~~r" at
         his second inauguration~nuary'2013.~1r",`
                                    iri
                                                                                                                          ~~~ar ~
                         to`t~~~t~reparte            2015, that Beyonce attended a major celebrity fundraiser for               ~y..
         2016 ~residentia! nominee ~{illary Clinton. `'ka She also headlined for Clinton in a concert held the
         weelF                                           r. In this performance, Beyonce and her entourage of backup
~~~~~"Q~ dancers wore ~ai~tsuits; a clear allusion to Clinton's frequent dress-of-choice. The backup dancers also
         wore "I'm ~nrith her° tee shirts, the campaigr~_slogan for_Clinton. In a brief speech at this performance
         Beyonce said, "I want my daughter to grow up seeing a woman lead our country and knowing that her
                                                             --- --                    -
         possibilities are limitless '~~~`" She endorsed the bid of Beto O'Rourke during the ~               nE ed"5f-
         Senate e        on ~n exa

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                Beyonce has conducted several fundraising and donation campaigns during her tours

             _ _._ .In 2013, Beyonce stated in an interview in Vogue that she considered herself to be "a modern-dav
                    ferrrinisi".~"''~ She would later align herself more publicly with the mc~veme~~t, sampling "We shou!~ all
                    be feminists", a speech delivered by Nigerian author Chirz~arnanda N~ozi Adichie at a 1 ~L)x talk in April
                    2013, in her song °FlavArlrss", released later that year.~'`"i The next year she performed live at the ~v1 TV
                    Video Awards in front a giant backdrop reading "Feminist".=2 2=Her self-identification incited a circulation
                    of opinions and debate about whether her feminism is aligned with older, more established feminist
                    ideals. ~nnic Lenne~x,cele             moist..arad_fPmin.isi.a~lvoc_ate, referred to Beyonce's use of her_word
                   feminist as 'feminist lite' ~`"~ k3e11 tic~caks critiqued Beyonce, referring to her as a "terrorist" towards
                     eminism, harmfully impacting her audience of young girls.'-""~ Adichie responded with "her type o
                   fe" 'nism.is.nox_mine,~s it is the kind that, at the same time, fi ves quite a_lot Qf_space to the necessity o
                          "~"''= Adichie expands upon what 'feminist lite' means to her, referring that "more troubling is the
                    idea, in Feminism Lite, that men are naturally superior but should be expected to "treat women well"


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      and "we judge powerful women more harshly than we judge powerful men. And Feminism Lite enables
      this."=~=~'= Beyonce responded about her intent by utilizing the definition of feminist with her platform
  "-~i+vas_to °give clarity to the true meaning" behind it.~'~~ She says to understand what being a feminist is,
                                                     ---
~     "it's very simple. It's someone who believes in equal rights for rnen and women."=```~~ She advocated to
      provide equal opportunities for young boys and girls, men and women must begin to understand the
      double standards. that remain persistent in our societies and the issue must be illuminated in effo to
      start making changes "-- A
                                ._._.
        She ~s also contributed to the ~~n Bossy campaign, which uses N and soaa me is o
                                                                                              ~~'~ I,~
                                                                                                               ~'cx            ,~
                                                                                                                                ~~
        leadership in girls."''~ Following Beyonce's public identification as a feminist, the sexualized nature of
        her performances and the fact that she championed her marriage was questioned.i             ,~, ~
        I n December 2012, Beyonce along with a variety of other celebrities teamed up and produced a vi~eo
        campaign for "Demand A Plan", a bipartisan effort by a group of 950 U.S. mayors and others"~'
        designed to influence the federal government into rethinking its gun control laws,followin the Sand
                                                f,
        Naok Elementary School shooting.`='` eyonce publicly endorsed same-sex marriage on March 26, 2013,
        after the Supreme Court debate on California's F~roposition ~.~j'" She spoke against North Caralir~a's
        Public Facilities Privac~r & Securiy Act, a bill passed (and later repealed) that discriminated against the
        LGBT community in public places in a statement during her concert in ^     ~ le~h, as part of the Formation           \
        World Tour in 2016.~'''~ She has also condemned police brutality against black Americans. She and lay-Z G~'~~~~
        attended a rally in 2013 in response to the acquittal of George Zimmerman for the killin of Trayuon                     S
        Martin.j~-''1 The film for her sixth album Lemonade included the mothers of Trayvon Martin, Michael            ~h1,fj
        Brown and Eric Garner, holding pictures of their sons in the video for "~reeclor»".~~'1 In a 2016 interview         ~~~
        with Elle, Beyonce responded to the controversy surrounding her song "Formation" which was                            ff~
        perceived to be critical of the police. She clarified, "I am against police brutality and injustice. Those are
        two separate things. If celebrating my roots and culture during 81ack Nist~ry_Mr~ntt~ made anyone
        u ncomfortable, those feelings were there long before a video and long before me".~;=-'z

        I n February 2017, Beyonce spoke out against the withdrawal of protections for trans~errder students in
        public schools by Dc~nalc~7r~as~s7~'s ~~rf~siclential ac~rninistratic7r3. Posting a link to the 100 Days of Kindness
        campaign on her Facebook page, Beyonce voiced her support for trans~;encie~outh and joined a roster
        of celebrities who spoke out against Trump's decision.=-'=`~''

        In November 2017, Beyonce presented Cnlin Kaep~rr2ick with the 2017 Sports lPlustratect Muhammad Ali
        Legacy Award, stating, "Thank you for your selfless heart and your conviction, thank you for your
        personal sacrifice", and that "Colin took action with no fear of consequence ... To change perception, to
        change the way we treat each other, especially people of color. We're still waiting for the world to catch
        up." Muhammad Ali was heavily penalized in his career for protesting the status quo of US civil rights
        through opposition to the Vietnam War, by refusing to serve in the military. 40 years later, Kaepernick
        had already lost one professional year due to taking a much quieter and legal stand "for people that are
        oppressed".=''=~"                                           -


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        ~~'        Run this World Lyrics by Beyonce~~                             (~~                        ,.i

         '
         / \       Girls, we run this mutha (yeah)         d~    My persuasiorr~        ~                 y~ Then get back to business

                   Girls, we run this mutha (yeah)              Can build a nation~i                .~             See, you better not play me (me)

                   Girls, we run this mutha (yeah)              Endless power                                      Oh, come here, baby-'~„~jY U'L

                   Girls, we run this mutha, girls                                  v`ur~
                                                                With our J,~we can d~                              Hope you still like me

    Q         •~ .Who run the world? Girls (girls)              You'll do anything for me~- ,~                     F you, pay me~~-'Rnv~         n.~~ack T~t.1~_
  (~~ ~ O~         Who run the world? Girls (girls)             Who run the world? Girls (girlsj~                  My persuasion

         ar={'     Who run the world? Girls (girls)             Who run the world? Girls (girlsr.~~p~              Can build a nation
  rr~                                                                                                +             Endless power
                   Who run the world? Girls (girls)             Who run the world? Girls (girls)

                   Who run this mutha? Girls                    Who run the world? Girls (girls)                   With our love we can devour

                   Who run this mutha? Girls                    Who run the world? Girls (girls)                   You'll do anything forme

                   Who run this mutha? Girls                    Who run this mutha? Girls                          Who run the world? Girls (girls)

                   Who run this mutha?Girls                     Who run this mutha? Girls                          Who run the world? Girls (girls)

                   Who run the world?Girls (girls)              Who run this mutha? Girls                          Who run the world? Girls (girls)

                   Who run the world? Girls (girls)             Who run this mutha? Girls                          Who run the world? Girls (girls)

                   Who run the world? Girls (girls)             Who run the world? Girls (girls)                   Who run the world? Girls (girls)

                   Who run the world? Girls (girls)             Who run the world? Girls (girls)                   Who run this mutha? Girls

          '
        l~~Q       Some    .them,men think they freak           Who run the world? Girls (girls)                   Who run this mutha? Girls

   ~               cn~s                                          Who run the world?Girls (girls)                   Who run this mutha? Girls

                   Like we do, but no they don't                 IYs hot up in here, DJ, don't be                  Who run this mutha? Girls

                 jMake your check, come at they neck            scared to run this, run this back                  Who run the world? Girls (girls)

                   Disrespect us, no they won't                  I'm repping for the girls who taking              Who run the world? Girls (girls)

                   Boy, don't even try to touch this            over the world                                     Who run the world? Girls (girls)

                  (touch this)                                   Help me raise a glass for the college             Who run the world? Girls (girls)

                   Boy, this beat is crazy (crary)              grads                                              Who are we?

~ ~Larr'~4~,_PThis is how they made me(made                     41' Rollie to let you know what time it            What we run?
                                                                 is, check                                         The world

                   Houston, Texas, baby                         You can't hold me (you can't hold                  Who run this mutha? Yeah

                   This goes out to all my girls                     '
                                                                 me) ~ "          ~~~-~~m~~                        Who are we?

                   ThaYs in the club rocking the latest           work my ine to five, e er cut my                 What we run?

                   Who will buy it for themselves and           check                                              The world

                   get more money later                         This goes out to all the women                     Who run this mutha? Yeah

                    think I need a barber (barber)               getting it in, you on your grind                  Who are we?

                   None of these niggas can fade me             To all the men that respect what I do,~            What do we run?

                  (fade me)                                      please accept my shine ~„~cf~
                                                                                        ~~~             i ~~       We run the world

                   I'm so good with this, I remind you,          Boy, you know you love it          c
                                                                                                    ~ ~ ~          Who run this mutha? Yeah

                   I'm so hood with this                         How we smart enough to rlfiake            Q
                                                                                                         ~a'       Who are we?

                   Boy, I'm just playing                        these millions          ~~~ ~F'                    What we run?

                   Come here, baby                              Strong enough to bear the children W'1[~ Qy~t We run the world

                   Hope you still like me, F you, pay me        (children)              SQ,              ~1 ~tX    Who run the world? Girls (girls)
                                                                                                r       • A1\
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               ;~~~I                i ~~.~.
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                Run this Town Lyrics by Jay Z feat. Kanye West and Rihanna
                                                        i        ,r~~.,t
              (Rihanna)                           p•~' ~~`~ ~                            Who gon' run this town tonight?
                Feei it coming in the ai~                                       ,  j'~j
                Hear the screams rom eve           here                         (~~" {Kanye West)
           ~     m a icte to the the thrill        LC~ C                                 IYs crazy how you can go from being Joe Blow
                IYs a dangerousJ~_affair~" ~/                                            To everybody on your dick, no homo
,~t~~~t ,N~       an't be sca                      own~d~                                I bought my whole family whips, no Volvos
                  o a problem, tell me now                                               Next time I'm in church, please no photos        Y~~ ~~,.~
      ~~        Only thing thaYs on my mind                                                olic    ~~ everybody passports~~,                                 ,
                Is who gon' run this town tonight                                        This the life that everybody ask for       eS~'        ~ ~~~~,r~~ ion bar
                is who gon' run this town tonight                             ~             is a fast life, we   o                   ~~----
        7~~~    We gon' run this town                                       ~~           What you thin rap for? To ush a fuckin' f~av 4~                     ~--
                                                                                         But Iknow tha# i~ say stunting                    ~             ~ ~~S ~1~jc
              (Jay-Z)                                           ~                        All these girls only gon' want one thing                               ~~~~
~.              We are, yeah, I said it, we are                                     ~I could spend my whole life ood will huntin                    V,►t(7l.
  /~~,~         This is Roc elation oled~your a ~ggiance~"'                      ~      bn           oon come is it's goo when I'm coming                ~            ~
                Get 'all fati ues on, all black everything~~~                  ~ ~       She got an ass that'll swallow up her G-string                ~
   9          ~ ack cards, black cars, all black everything                    7         And up top, uh; two bee stings                           _
                And our irls are bl• •cam' ds, riding with they Dillingers               And I'm beastinq off the re-sling
                 get mare in-depth if you boys really real enough            ~          And my nigga just made it out the~recinct
                This is La Familia, i'll explain later                                  We give a damn about the drama that you do bring
    $~~~~~~ But for now, let me get back to this paper                         ~        I'm just tryna change the color on your mood ring
c1„_"T~~~ I'm a couple bands down and I'm tryna get back                     4 /~~      Reebok, baby, you need to try some new things
               i gave Doug a grip, I last a flip for five stacks              ~r    ~                                                          e~YV~~               ~
                                                                                                                                                                  i~(
                                                                                        Have you ever had shoes without shoestrings?                         _:a~•~
         t1~~Yeah, I'm talking five comma six zeroes dot zero, here g               ~ WhaYs that, Ye? Baby, these heels                      ~k,Q.'nQ~'          ~
a      ~~a~~Back to running circles 'round niggas, now we squared up            o~      Is that a llay-what? Baby, these wheels                   ~~ ~ t,~y a
                                                                                                                                                                 ~1
               Hold up
                                                                           J ~j         You trippin' when you ain't sippin', have a refill            ~              ,~
  - -r=~ -- ~ {Rihanna)                                                    ~~~o      ~ You feelin' Eke you run it, huh?                     Y,{~SSV~                   ,
      ~        Life's a game but iYs not fair                                       ~ Now you know how we feel                                    ~
                 break the rules so I don't care                                                                                              a
               So I keep doing my own thing                                             {Jay-Z)
               Walking tall against the rain                                            Wha'sup?
               Victory's within the mile
               Almost there, don't give up now                                          (Rihanna)
               Only thing that's on my mind                                             Hey-ey-ey-ey-ey-ey, ey-ey-ey-ey
               Is who gon' run this town tonight                                        Hey-ey-ey-ey-ey-ey: ey-ey-ey-ey
               Hey-ey-ey-ey-ey-ey, ey-ey-ey-ey
               Hey-ey-ey-ey-ey-ey, ey-ey-ey-ey                                          t~~y_Z~
               Who gon' run this town tonight?
                                                                                        Wha'sup?
                  (Jay-Z)
                  We are, yeah, I said it, we are                                           (Rihanna)
                  You can call me Caesar, in a dark Caesar                                  Hey-ey-ey-ey-ey-yeah, ey-ey-ey-yeah
                  Please follow the leader, so Eric B. we are                               Hey-ey-ey-ey -ey-yeah
                  Microphone fiend, iYs the return of the God, peace, God                   We gon' run this town tonight
                  And ain't nobody fresher
                  I'm in Maison, uh, Martin Margiela                                        (Jay-Z)
                  On the table, screaming fuck the other side; they jealous                 Wha'sup?
                  We got a bankhead full of broads, they got a table full of
                  fellas
                  (Ewww) And they ain't spendin' no cake
                  They should throw they hand in, 'cause they ain't got no
                  spades
                  (Ewww) My whole team got dough
                  S o my bankhead is iook in' Ik
                                               i e MII
                                                    i ionaires'R ow                    __ _      -
                  (Ewww)                                                                                                                       .

                  (Rihanna)
                                                                                ~~~1c~ti~~n~ 1~ ~~- A~v~~ ~e~{ v~~r~~l~~~~~-W~-- ~
                  Life's a game but iYs not fair
                  i break the rules so I don't care                              ~~-~ , ~an +~h1c~~                ova ~~'~Y V~ —~t~ ~e~~- ~ ~`
                  So i keep doing my own thing                                                       - ----
                  Walking tall against the rain
                  Victory's within the mile
                  Almost there, don't give up now
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                               cu chi viet nam


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About 94,800,000 result s (0.33 seconds)




C    ủ Chi

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                                                                                                                                              bea adventurous

                                                                                                                                          T he Best Cu Chi
                                                                                                                                          Tunnels Tour in
                                                                                                                                          Viet nam - bea
                                                                                                                                          advent urous

                                                                                                                  Map data © 2024




          Wikipedia                                                                                               About
          https://en.wikipedia.org › wiki › Củ_Chi_tunnels
                                                                                                                  Củ Chi is a rural dist rict of Ho Chi Minh Cit y, Viet nam.
Củ Chi tunnels
                                                                                                                  Wikipedia
T he t unnels of C ủ C hi are an immense net work of connect ing t unnels locat ed in t he
C   ủ C hi Dist rict of Ho Chi Minh Cit y (Saigon), Vietnam , and are part of a ...                               P ro vinc e:   Ho Chi Minh Cit y

                                                                                                                  P o pulatio n:   403,038 (2018)

                                                                                                                           168 mi²
People also ask                                                                                                   Ar ea:




                                                                                                                  T hings to do
What was t he Cu Chi in t he Viet nam War?
                                                                                                                  T hings to do in Củ Chi

By helping t o covert ly move supplies and house t roops, t he t unnels of Củ Chi allowed Nort h
Viet namese ﬁght ers in t heir area of Sout h Viet nam t o survive, help prolong t he war and                     Pronunciat ion

                                                                                                                  How to pronounce cu chi
increase U.S. cost s and casualt ies unt il t he event ual wit hdrawal in 1973, and t he ﬁnal defeat
of Sout h Viet nam in 1975.                                                                                                                                                   Feedback

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Was Agent Orange used in Cu Chi Viet nam?                                                                         Hóc Môn            Bình Tân          Gò Vấp          Tân Bình


Are t he Cu Chi Tunnels wort h visit ing?                                                                                                    See more


Do Viet Cong t unnels st ill exist ?


What did U.S. soldiers call Viet namese soldiers?


What was t he most secret unit in Viet nam?


Who did t he Viet Cong fear t he most ?


Why were Viet Cong called Charlie?


What did t he Viet namese call t he Navy SEALs?

                                                                                                     Feedback




Things to do




Cu Chi Tunnel                                Ben Duoc Temple - Cu Chi            Cu Chi Tunnel Ben Duoc
4.5 (12K)                                    4.6 (270)                           4.6 (1.4K)
Historical landmark                          Place of worship                    Historical place
                                             Fr ee




                                                     More t hings to do




          History.com
          https://www.history.com › T opics › Vietnam War

Cu Chi Tunnels - Facts, History & Length
                                                                 Case 2:24-cv-04076-FMO-MAR Document 1 Filed 05/16/24 Page 314 of 418 Page ID #:314




Củ Chi tunnels

The tunnels of Củ Chi (Vietnamese: Địa đạo Củ Chi) are an immense network of connecting tunnels located in the Củ Chi District of Ho Chi Minh City (Saigon), Vietnam, and are part of a much larger network of tunnels that
underlie much of the country. The Củ Chi tunnels were the location of several military campaigns during the Vietnam War, and were the Viet Cong's base of operations for the Tết Offensive in 1968.




                                                                                                  Entrance sign at the tunnels.




                                                                                                  Part of the tunnel complex at Củ Chi,
                                                                                                  this tunnel has been made wider and
                                                                                                  taller to accommodate tourists.




         Bến Dược
          Bến Đình




Location of C   ủ Chi tunnels in Ho Chi Minh City




The tunnels were used by Viet Cong soldiers as hiding spots during combat, as well as serving as communication and supply routes, hospitals, food and weapon caches and living quarters for numerous North Vietnamese
ﬁghters. The tunnel systems were of great importance to the Viet Cong in their resistance to American and ARVN forces, and helped to counter the growing American military presence.




Life in tunnels
American soldiers used the term "Black Echo" to describe the conditions within the tunnels. For the Viet Cong, life in the tunnels was diﬃcult. Air, food, and water were scarce, and the tunnels were infested with ants, venomous
centipedes, snakes, scorpions, spiders, and rodents. Most of the time, soldiers would spend the day in the tunnels working or resting and come out only at night to scavenge for supplies, tend their crops, or engage the enemy
in battle. Sometimes, during periods of heavy bombing or American troop movement, they would be forced to remain underground for many days at a time. Sickness was rampant among the people living in the tunnels,
especially malaria, which was the second largest cause of death next to battle wounds. A captured Viet Cong report suggests that at any given time, half of a unit of the People's Liberation Armed Forces (PLAF) unit had
malaria and that "one-hundred percent had intestinal parasites of signiﬁcance."[1]




U.S. campaigns against tunnels



                                                                                                  A trap door on the jungle ﬂoor leads
                                                                                                  down into the Củ Chi tunnels. Closed
                                                                                                  and camouﬂaged, it is almost
                                                                                                  undetectable.
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                       INTERNATIONAL COURT OF JUSTICE
                                    Peace Palace, Carnegieplein 2, 2517 KJ The Hague, Netherlands
                                          Tel.: +31 (0)70 302 2323 Fax: +31 (0)70 364 9928
                           Website: www.icj-cij.org Twitter Account: @CIJ_ICJ YouTube Channel: CIJ ICJ
                                           LinkedIn page: International Court of Justice (ICJ)

                                                                             Press Release
                                                                             Unofficial


                                                                                      No. 2018/47
                                                                                      28 September 2018




                             The State of Palestine institutes proceedings against
                                        the United States of America


              THE HAGUE, 28 September 2018. The State of Palestine today instituted proceedings
       against the United States of America before the International Court of Justice (ICJ), the principal
       judicial organ of the United Nations, with respect to a dispute concerning alleged violations of the
       Vienna Convention on Diplomatic Relations of 18 April 1961 (hereinafter the “Vienna
       Convention”).

             It is recalled in the Application that, on 6 December 2017, the President of the United States
       recognized Jerusalem as the capital of Israel and announced the relocation of the American
       Embassy in Israel from Tel Aviv to Jerusalem. The American Embassy in Jerusalem was then
       inaugurated on 14 May 2018.

                Palestine contends that it flows from the Vienna Convention that the diplomatic mission of a
       sending State must be established on the territory of the receiving State. According to Palestine, in
       view of the special status of Jerusalem, “[t]he relocation of the United States Embassy in Israel
       to . . . Jerusalem constitutes a breach of the Vienna Convention”.

              As basis for the Court’s jurisdiction, the Applicant invokes Article 1 of the Optional Protocol
       to the Vienna Convention concerning the Compulsory Settlement of Disputes. It notes that
       Palestine acceded to the Vienna Convention on 2 April 2014 and to the Optional Protocol on
       22 March 2018, whereas the United States of America is a party to both these instruments since
       13 November 1972.

             The Applicant further states that, on 4 July 2018, “in accordance with Security Council
       Resolution 9 (1946) and Article 35 (2) of the Statute of the Court, [it submitted] a ‘Declaration
       recognizing the Competence of the International Court of Justice’ for the settlement of all disputes
       that may arise or that have already arisen covered by Articles I and II of the Optional Protocol [to
       the Vienna Convention]”.

             At the end of its Application, Palestine “requests the Court to declare that the relocation, to
       the Holy City of Jerusalem, of the United States embassy in Israel is in breach of the Vienna
       Convention”. It further requests the Court “to order the United States of America to withdraw the
       diplomatic mission from the Holy City of Jerusalem and to conform to the international obligations
       flowing from the Vienna Convention”. Finally, the Applicant “asks the Court to order the
       United States of America to take all necessary steps to comply with its obligations, to refrain from
Case 2:24-cv-04076-FMO-MAR Document 1 Filed 05/16/24 Page 318 of 418 Page ID #:318

                                                        -2-

       taking any future measures that would violate its obligations and to provide assurances and
       guarantees of non-repetition of its unlawful conduct”.


                                                   ___________


             The full text of the Application of 28 September 2018 will be available shortly on the
       Court’s website.

                                                   ___________


             Note: The Court’s press releases are prepared by its Registry for information purposes only
       and do not constitute official documents.



                                                   ___________


              The International Court of Justice (ICJ) is the principal judicial organ of the United Nations.
       It was established by the United Nations Charter in June 1945 and began its activities in
       April 1946. The seat of the Court is at the Peace Palace in The Hague (Netherlands). Of the six
       principal organs of the United Nations, it is the only one not located in New York. The Court has a
       twofold role: first, to settle, in accordance with international law, legal disputes submitted to it by
       States (its judgments have binding force and are without appeal for the parties concerned); and,
       second, to give advisory opinions on legal questions referred to it by duly authorized
       United Nations organs and agencies of the system. The Court is composed of 15 judges elected for
       a nine-year term by the General Assembly and the Security Council of the United Nations.
       Independent of the United Nations Secretariat, it is assisted by a Registry, its own international
       secretariat, whose activities are both judicial and diplomatic, as well as administrative. The official
       languages of the Court are French and English. Also known as the “World Court”, it is the only
       court of a universal character with general jurisdiction.

              The ICJ, a court open only to States for contentious proceedings, and to certain organs and
       institutions of the United Nations system for advisory proceedings, should not be confused with the
       other  mostly criminal  judicial institutions based in The Hague and adjacent areas, such as the
       International Criminal Court (ICC, the only permanent international criminal court, which was
       established by treaty and does not belong to the United Nations system), the Special Tribunal for
       Lebanon (STL, an international judicial body with an independent legal personality, established by
       the United Nations Security Council upon the request of the Lebanese Government and composed
       of Lebanese and international judges), the International Residual Mechanism for Criminal
       Tribunals (IRMCT, mandated to take over residual functions from the International Criminal
       Tribunal for the former Yugoslavia and from the International Criminal Tribunal for Rwanda), the
       Kosovo Specialist Chambers and Specialist Prosecutor’s Office (an ad hoc judicial institution
       which has its seat in The Hague), or the Permanent Court of Arbitration (PCA, an independent
       institution which assists in the establishment of arbitral tribunals and facilitates their work, in
       accordance with the Hague Convention of 1899).
                                                  ___________
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                                                    -3-

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       Ms Genoveva Madurga, Administrative Assistant (+31 (0)70 302 2396)
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                                 COUR INTERNATIONALE DE JUSTICE


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                            AVIS CONSULTATIFS ET ORDONNANCES


                           TRANSFERT DE L’AMBASSADE
                           DES ÉTATS-UNIS À JÉRUSALEM
                            (PALESTINE c. ÉTATS-UNIS D’AMÉRIQUE)


                              ORDONNANCE DU 15 NOVEMBRE 2018




                                        2018
                                 INTERNATIONAL COURT OF JUSTICE


                                  REPORTS OF JUDGMENTS,
                               ADVISORY OPINIONS AND ORDERS


                         RELOCATION OF THE UNITED STATES
                              EMBASSY TO JERUSALEM
                           (PALESTINE v. UNITED STATES OF AMERICA)


                                 ORDER OF 15 NOVEMBER 2018




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ase 2:24-cv-04076-FMO-MAR Document 1 Filed 05/16/24 Page 321 of 418 Page ID #:32




                                                  Mode officiel de citation :
                                    Transfert de l’ambassade des Etats-Unis à Jérusalem
                                           (Palestine c. Etats-Unis d’Amérique),
                                             ordonnance du 15 novembre 2018,
                                                 C.I.J. Recueil 2018, p. 708




                                                     Official citation:
                                   Relocation of the United States Embassy to Jerusalem
                                         (Palestine v. United States of America),
                                               Order of 15 November 2018,
                                                I.C.J. Reports 2018, p. 708




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                                                        15 NOVEMBRE 2018

                                                           ORDONNANCE




                              TRANSFERT DE L’AMBASSADE
                              DES ÉTATS-UNIS À JÉRUSALEM
                          (PALESTINE c. ÉTATS-UNIS D’AMÉRIQUE)




                           RELOCATION OF THE UNITED STATES
                                EMBASSY TO JERUSALEM
                         (PALESTINE v. UNITED STATES OF AMERICA)




                                                        15 NOVEMBER 2018

                                                            ORDER




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                                                                                               708




                                       INTERNATIONAL COURT OF JUSTICE

                                                       YEAR 2018
                                                                                                          2018
                                                                                                      15 November
                                                    15 November 2018                                  General List
                                                                                                         No. 176

                              RELOCATION OF THE UNITED STATES
                                  EMBASSY TO JERUSALEM
                                  (PALESTINE v. UNITED STATES OF AMERICA)




                                                         ORDER


                         Present: President Yusuf; Vice‑President Xue; Judges Tomka, Abraham,
                                  Bennouna, Cançado Trindade, Donoghue, Gaja, Sebutinde,
                                  Bhandari, Robinson, Crawford, Gevorgian, Salam,
                                  Iwasawa; Registrar Couvreur.



                           The International Court of Justice,
                            Composed as above,
                            After deliberation,
                            Having regard to Article 48 of the Statute of the Court and to Arti-
                         cles 44, 48 and 79, paragraphs 2 and 3, of the Rules of Court,
                            Having regard to the “Declaration Recognizing the Competence of the
                         International Court of Justice” deposited by the State of Palestine (here-
                         inafter “Palestine”) on 4 July 2018, whereby, pursuant to Security Coun-
                         cil resolution 9 (1946) of 15 October 1946 adopted in virtue of the powers
                         conferred upon the Council by Article 35, paragraph 2, of the Statute of
                         the Court, Palestine “accept[ed] with immediate effect the competence of
                         the International Court of Justice for the settlement of all disputes that
                         may arise or that have already arisen covered by Article I of the Optional
                         Protocol to the Vienna Convention on Diplomatic Relations concerning
                         the Compulsory Settlement of Disputes (1961), to which the State of Pal-
                         estine acceded on 22 March 2018”,

                                                                                                 4




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                                relocation of the united states embassy (ord. 15 XI 18)            709

                            Having regard to the Application filed in the Registry of the Court on
                         28 September 2018, whereby Palestine instituted proceedings against the
                         United States of America (hereinafter the “United States”) concerning
                         alleged violations of the Vienna Convention on Diplomatic Relations of
                         18 April 1961 (hereinafter the “Vienna Convention”);
                            Whereas a certified copy of the Application was communicated to the
                         United States on the day it was filed;
                            Whereas in its Application, Palestine seeks to found the jurisdiction of
                         the Court on Article I of the Optional Protocol to the Vienna Convention
                         on Diplomatic Relations concerning the Compulsory Settlement of Dis-
                         putes (hereinafter the “Optional Protocol”);

                            Whereas Palestine appointed H.E. Mr. Ammar Hijazi, as Agent, and
                         H.E. Ms Rawan Sulaiman, as Co-Agent, for the purposes of the case;
                         whereas the United States was invited to appoint an agent in the case, in
                         accordance with Article 40, paragraph 2, of the Rules of Court; and
                         whereas it has not appointed an agent to date;
                            Whereas, by a letter dated 11 October 2018, the Registrar invited the
                         representatives of the Parties to a meeting with the President of the Court
                         to be held on 5 November 2018, pursuant to Article 31 of the Rules of
                         Court, in order for the President to ascertain the views of the Parties with
                         regard to questions of procedure in the case;
                            Whereas, by a letter dated 2 November 2018, Ms Jennifer G. New­
                         stead, Legal Adviser of the United States Department of State, informed
                         the Court that, on 13 May 2014, following the Applicant’s “purported
                         accession” to the Vienna Convention, the United States had submitted a
                         communication to the Secretary-­General of the United Nations, declaring
                          that the United States did not consider itself to be in a treaty relationship
                         with the Applicant under the Vienna Convention; whereas she added
                         that, on 1 May 2018, following the Applicant’s “purported accession” to
                         the Optional Protocol, the United States had submitted a similar com-
                          munication to the Secretary‑General of the United Nations, declaring
                         that the United States did not consider itself to be in a treaty relationship
                         with the Applicant under the Optional Protocol; whereas, in her letter,
                         Ms Newstead observed that the Applicant had been aware of these com-
                         munications by the United States before it submitted its Application to
                         the Court; and whereas she concluded that, according to the United
                         States, “it [was] manifest that the Court ha[d] no jurisdiction in respect of
                         the Application” and that the case ought to be removed from the List;
                            Whereas, by a letter of the same date, Ms Newstead informed the
                         ­Registrar that the United States would not participate in the proposed
                         meeting to be held on 5 November 2018 by the President with the repre-
                         sentatives of the Parties;
                            Whereas, on 5 November 2018, the President of the Court met with the
                         representatives of Palestine; whereas, at that meeting, Palestine expressed

                                                                                                     5




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                                relocation of the united states embassy (ord. 15 XI 18)            710

                         the wish that the Court decide in favour of its claim and indicated a
                         strong preference for the submission of a Memorial dealing both with
                         jurisdiction and merits, on the grounds that these two aspects were, in its
                         view, closely related, stating that Palestine would need six months for the
                         preparation of the said pleading; whereas Palestine added that, if the
                         Court were to order a first round of written pleadings dedicated solely to
                         the question of its jurisdiction, a time-limit of six months would similarly
                         be necessary for the preparation of a pleading on that question;

                            Whereas the Court considers, with reference to Article 79, paragraph 2,
                         of its Rules, that, in the circumstances of the case, in particular in view of
                         the fact that, according to the United States, the Court manifestly lacks
                         jurisdiction to entertain Palestine’s Application, it is necessary to resolve
                         first of all the question of the Court’s jurisdiction and that of the admis-
                         sibility of the Application, and that these matters should accordingly be
                         separately determined before any proceedings on the merits;
                            Whereas it is necessary for the Court to be informed of all the conten-
                         tions and evidence on facts and law on which the Parties rely in relation
                         to its jurisdiction and the admissibility of the Application,
                            Decides that the written pleadings shall first be addressed to the ques-
                         tion of the jurisdiction of the Court and that of the admissibility of the
                         Application;
                           Fixes the following time-­limits for the filing of those pleadings:

                          15 May 2019 for the Memorial of the State of Palestine;
                          15 November 2019 for the Counter-­Memorial of the United States of
                         America; and
                           Reserves the subsequent procedure for further decision.

                            Done in French and in English, the French being authoritative, at the
                         Peace Palace, The Hague, this fifteenth day of November, two thousand and
                         eighteen, in three copies, one of which will be placed in the archives of the
                         Court and the others transmitted to the Government of the State of Pales-
                         tine and the Government of the United States of America, respectively.

                                                             (Signed) Abdulqawi Ahmed Yusuf,
                                                                             President.
                                                                 (Signed) Philippe Couvreur,
                                                                               Registrar.




                                                                                                     6




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                           Website: www.icj-cij.org Twitter Account: @CIJ_ICJ YouTube Channel: CIJ ICJ
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                                                                             Press Release
                                                                             Unofficial




                                                                                      No. 2018/57
                                                                                      30 November 2018


       Relocation of the United States Embassy to Jerusalem (Palestine v. United States of America)

           The Court decides that the written pleadings will first be addressed to the question of
                       jurisdiction and that of the admissibility of the Application


              THE HAGUE, 30 November 2018. By an Order dated 15 November 2018, the International
       Court of Justice (ICJ), the principal judicial organ of the United Nations, decided that the written
       pleadings in the case concerning the Relocation of the United States Embassy to Jerusalem
       (Palestine v. United States of America) would first be addressed to the question of the jurisdiction
       of the Court and that of the admissibility of the Application. It fixed 15 May 2019 and
       15 November 2019 as the respective time-limits for the filing of a Memorial by the State of
       Palestine and a Counter-Memorial by the United States of America.

             It is recalled in the Order that the State of Palestine seeks to found the jurisdiction of the
       Court on Article I of the Optional Protocol to the Vienna Convention on Diplomatic Relations
       concerning the Compulsory Settlement of Disputes (1961), to which the State of Palestine acceded
       on 22 March 2018.

              The Order notes that, by a letter dated 2 November 2018, the United States informed the
       Court of the communications it had submitted to the Secretary-General of the United Nations
       in 2014 and 2018, in which it declared that it did not consider itself to be in a treaty relationship
       with the Applicant under the Vienna Convention or the Optional Protocol. In its letters, the
       United States further observed that the Applicant had been aware of these communications before it
       submitted its Application, and it concluded that, in its view, “it [was] manifest that the Court ha[d]
       no jurisdiction in respect of the Application” and that the case ought to be removed from the List.

              The Court further notes in its Order that, by a letter of the same date, the United States
       informed the Registry that it would not participate in the proposed meeting to be held on
       5 November 2018 by the President with the representatives of the Parties, in order to ascertain their
       views with regard to questions of procedure in the case. The Court states that, at that meeting,
       Palestine expressed the wish that the Court decide in favour of its claim and indicated a strong
       preference for the submission of a Memorial dealing with both the jurisdiction of the Court and the
       merits, explaining that it would need six months to prepare that pleading.


                                                  ___________
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       History of the proceedings

             A complete history of the proceedings can be found in Press Release No. 2018/47 of
       28 September 2018, available on the Court’s website (www.icj-cij.org) under “Press Room/Press
       Releases”.
                                              ___________

            The full text of the Order can be found on the Court’s website (under the heading
       “Cases”/“Pending Cases”).
                                            ___________

             Note: The Court’s press releases are prepared by its Registry for information purposes only
       and do not constitute official documents.

                                                   ___________


              The International Court of Justice (ICJ) is the principal judicial organ of the United Nations.
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       United Nations organs and agencies of the system. The Court is composed of 15 judges elected for
       a nine-year term by the General Assembly and the Security Council of the United Nations.
       Independent of the United Nations Secretariat, it is assisted by a Registry, its own international
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       languages of the Court are French and English. Also known as the “World Court”, it is the only
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              The ICJ, a court open only to States for contentious proceedings, and to certain organs and
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       Kosovo Specialist Chambers and Specialist Prosecutor’s Office (an ad hoc judicial institution
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                                                   ___________

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       Ms Genoveva Madurga, Administrative Assistant (+31 (0)70 302 2396)
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          My Testimony begins His Story
          as it gives GOD back HIS GLORY!




                                                                                     to you




           through




                   Victoria Dillihunt
Case 2:24-cv-04076-FMO-MAR Document 1 Filed 05/16/24 Page 329 of 418 Page ID #:329
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                    Using PHONICS the word Crypt
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                       -Victoria Dillihunt
          Crediting: Pastor Rudolph McKissick Jr
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          from Bethel Church for:::




         Nothing is Impossible ( Luke 1: 37)
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                                                                    ONTO
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     One IA Potters House Church
    Potters House Church Of LA
     St. Philip Neri Catholic Church
   Congregation of the Oratory, etc.
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1                                                    Claim #(            )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 16:22 And the goat shall bear upon him all their iniquities
      _____. ____________________________________________________________
     Insert ¶ #
18   unto a land not inhabited: he shall let go the goat in the wilderness.
     _________________________________________________________________
19   Leviticus 16:26 And he that let go of the goat for the scapegoat shall
     __________________________________________________________________
20   was his clothes, and bathe his flesh in water, and afterward come into the
     __________________________________________________________________
21   camp. Leviticus 16:27 And the bullock for the sin offering, and the goat
     ________________________________________________________________
22   the sin offering, whose blood was brought in to make atonement in the
     _________________________________________________________________
23   holy place, shall one carry forth without the camp........( to be continued)
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    Jesus died as the ultimate sacrifice however the wicked are still using
     __________________________________________________________________
27   these kind of sacrifices to try and cleanse their sin. Also, they're using the
     __________________________________________________________________
28   humans for the sacrifices instead of the goats bcuz their the serpent seed
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-04076-FMO-MAR Document 1 Filed 05/16/24 Page 403 of 418 Page ID #:403




1                                                    Claim #(            )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 19:28 Ye shall not make any cuttings in your flesh for the
      _____. ____________________________________________________________
     Insert ¶ #
18   dead, nor print any marks upon you: I am the Lord. Leviticus 19:29 Do not
     _________________________________________________________________
19   prostitute thy daughter, cause her to be a whore; lest the land fall to whore
     __________________________________________________________________
20   -dom, and the land become full of wickedness .
     __________________________________________________________________
21   ________________________________________________________________
22   _________________________________________________________________
23
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    All things that is instructed for us not to do the wicked have used as a
     __________________________________________________________________
27   way 2 cause us to sin against God. Not having the right GOD in His Right
     __________________________________________________________________
28   PLACE is the world PROSTITUTING ME SPIRITUALLY & SYSTEMATICALLY
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-04076-FMO-MAR Document 1 Filed 05/16/24 Page 404 of 418 Page ID #:404




1                                                    Claim #(            )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 18:3 After the doings of the land of Egypt, wherein ye
      _____. ____________________________________________________________
     Insert ¶ #
18   dwelt, shall ye not do: and after the doings of the land of Canaan, whither
     _________________________________________________________________
19   I bring you, shall ye not do: neither shall ye walk in their ordinances.
     __________________________________________________________________
20   Leviticus 18:22 Thou shalt not lie with mankind, as with womankind: it is
     __________________________________________________________________
21   abomination. Leviticus 19:4 Turn ye not unto idols, nor make to your-
     ________________________________________________________________
22   selves molten gods: I am the LORD your God. Leviticus 19:11 Ye shall not
     _________________________________________________________________
23   steal, neither deal falsely, neither lie one to another.
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    The Roman Catholic Church has led the people into following the doings
     __________________________________________________________________
27   of Canaan by rebuilding the Roman Empire as they goverened the Church.
     __________________________________________________________________
28   Their seeds have stolen, infiltrated, and replicated us while killing us too.
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-04076-FMO-MAR Document 1 Filed 05/16/24 Page 405 of 418 Page ID #:405




1                                                    Claim #(            )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 19:10 And thou shalt not glean thy vineyard, neither shalt
      _____. ____________________________________________________________
     Insert ¶ #
18   thou gather every grape of thy vineyard; thou shalt leave them for the
     _________________________________________________________________
19   poor and stranger: I am the LORD your God. Leviticus 19:13 Thou shalt not
                                           Overseer
     __________________________________________________________________
20   defraud thy neighbor, neither rob him: the wages of him that is hired shall
     __________________________________________________________________
21   not abide with thee all night until the morning. Leviticus 19:16 Thou
     ________________________________________________________________
22   shalt not go up and down as a talebearer among thy people: neither shalt
     _________________________________________________________________
23   thou stand against the blood of thy neighbor: I am the LORD.
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25                                     In Hebrew; Oratory is H3907 which translates
     Insert ¶ # claim, Plaintiff was harmed in the following way:
         to Lachash
      I have             meaning
                 had to get         a whisper,
                             help from          a private prayer,
                                        the government,            anthe
                                                           hustle in  incantation, an &
                                                                         streets, work
26   __________________________________________________________________
         amulet,
      wait    to getcharm,
                     paid justearring, enchantment,
                                 so I could take care orator, and prayer
                                                       of my basic  needs however that
27   __________________________________________________________________
28    is slavery and a violation to my BIRTHRIGHTS given to me by The Creator.
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
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1                                                      Claim #(            )
2                                                       (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                        (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply,                  Cane killed
               and to LEAD the people,       Abel
                                       etc have   andviolated
                                                been  Abels blood cried
                                                              & downplayed
     __________________________________________________________________
11     from the
     ___.           grounds(Genesis
                Plaintiff                4:11).
                          alleges the above     Now
                                            claim    the the
                                                  against witchcraft behind
                                                             following      this is how
                                                                       Defendant(s):
12     they
     Insert ¶ # use all earth's elements as weapons to kill. Example: R I.P OJ Simpson
      All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                      (You may list facts supporting your claim. Be specific about how each Defendant
16                                       violated the rights giving rise to this claim.)
17           Acts 5:33 When they heard that, they were cut to the heart, and
      _____. ____________________________________________________________
     Insert ¶ #
18   took counsel to slay them. Acts 5:34 Then stood there up one in the
     _________________________________________________________________
19   council, a Pharisee, named Gamaliel, a doctor of the law, had in reputation
     __________________________________________________________________
20   among all the people, and commanded to put the apostles forth a little
     __________________________________________________________________
21   space; Acts 5:35 And said unto them, Ye men of Israel, take heed to
     ________________________________________________________________
22   yourselves what ye intend to do as touching these men
     _________________________________________________________________
23
     __________________________________________________________________
24    ___. As a result of the Defendant’s violation of the rights giving rise to this
25                                        R.I.P.
      Insert ¶ # claim, Plaintiff was harmed   inKobe  Bryant! way:
                                                 the following I wish I would have known
26         back     thenofwhat  I know   Now.the
                                               The Bible talks aboutclaims
                                                                      the church
      __________________________________________________________________
     The     meaning       Doctor  isn't what    medical  profession       it to beover allhere
                                                                                    assee
                                                                                       we
     the
          the   Kings being the cause of the deaths and Roman Catholics worship
           true meaning of doctor belongs to the Man or Woman of God that's healing the
27    __________________________________________________________________
         the dead
     people      and its right here that the World stole and Perverted GOD'S ESSENCE
28    __________________________________________________________________
                                                         ________
                                                         Page Number

                                   Civil Rights Complaint Pursuant to U.S.C. § 1983
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1                                                    Claim #(            )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5           § 86205(a)(b)(c)(d)(e)(f)
     _____. ____________________________________________________________
     Insert ¶ #
6    § 81001(a)(b)
     __________________________________________________________________
7
     __________________________________________________________________
8
     __________________________________________________________________
9
     __________________________________________________________________
10
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants due to the charade of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           In 2014, The Carters went to Havana,Cuba for their anniversary and
      _____. ____________________________________________________________
     Insert ¶ #
18   it was approved by the Treasury Department. In, 2020 Beyonce did a
     _________________________________________________________________
19   vusual album for Black is King where she rocked OSHUN(an Africa deity)
     __________________________________________________________________
20   that is also linked to Cuba. Then, in 2022 Beyonce did a concert in the
     __________________________________________________________________
21   city of Compton. All her moves are ritualistic in the realms of sorcery.
     ________________________________________________________________
22   She is also Catholic and her moves are just like the Scatter Africa era to
     _________________________________________________________________
23   keep the world under the realm of manipulation, witchcraft, idolatry, etc
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    The CARTERS have been pretending to be ME and My Partner while using
     __________________________________________________________________
27   the power of influence, witchcraft, and money to try and cover their steps
     __________________________________________________________________
28   while blackmailing me for no apparent reason other than Jealousy.
     __________________________________________________________________
                                                       ________
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                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
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                                      Victoria Dillihunt
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